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           ORDERED in the Southern District of Florida on October 4, 2018.




                                                               A. Jay Cristol, Judge
                                                               United States Bankruptcy Court
_____________________________________________________________________________




                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA

          In re:                                                    Case No.: 18-15825-AJC
          NUBIA MARCELLA PEREZ,                                     Chapter 11

                      Debtors.
          ____________________________________/

                    FINDINGS OF FACT AND CONCLUSIONS OF LAW ON BRIAN AND
                        ANDREA HOLLAND’S MOTION FOR SANCTIONS UNDER
                             BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105

                   THIS MATTER came before the Court for an evidentiary hearing on September 28, 2018

          upon Creditors, Brian Holland and Andrea Holland’s (“Landlord”) Motion for Sanctions under

          Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF No. 25].

                                                INTRODUCTION

                   On May 30, 2018, Landlord filed a Motion for Sanctions under Bankruptcy Rule 9011 and

          11 U.S.C. § 105 against Debtor Nubia Marcella Perez (“Debtor”) and her counsel, Thomas




                                                         1

                                                                                            Exhibit A
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   Neusom (“Neusom”)1 alleging that Debtor and Neusom filed a bankruptcy petition in bad faith for

   the sole purpose of staying a state court eviction action brought by Landlord against A Plus

   Lamination and Finishing, Inc. At trial, the Landlord presented no evidence regarding actions

   taken by the Debtor, but it did present evidence that Debtor’s attorney, Neusom, falsely advised

   Landlord’s manager and Landlord’s state court attorney that he had filed a bankruptcy petition on

   behalf of A Plus Lamination and Finishing, Inc., the defendant in the Florida county court eviction

   action. The Court, having considered the documentary evidence, witness testimony, and counsel’s

   arguments, enters its findings of fact and conclusions of law as follows:

                                        FINDINGS OF FACT

          1.      Debtor is an individual, and a principal and (apparently) the sole owner of A Plus

   Lamination and Finishing, Inc. Ex. 19.2

          2.      A Plus Lamination and Finishing, Inc. is an active Florida Corporation, which

   entered a one-year commercial lease (“Lease”) with Landlord to rent property located at 5559 NW

   36th Avenue Miami, Florida 33142 (“Property”). Ex. 21.

          3.      The Lease’s one-year term ran from August 1, 2017 to July 31, 2018. A Plus

   Lamination and Finishing, Inc. agreed to pay $8,666.67 in monthly rent plus sales tax and fees to

   lease the Property. Id.

          4.      A Plus Lamination and Finishing, Inc. defaulted on the Lease by failing to make

   the March 1, 2018 rent payment and subsequent payments. Ex. 1.




   1
          Neusom’s Florida Bar number is 37148.
   2
          All referenced exhibits were admitted into evidence during the evidentiary hearing.
                                                    2
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          5.       On April 13, 2018, Landlord initiated an eviction action against A Plus Lamination

   and Finishing, Inc. in the County Court in and for Miami-Dade County, Case No. 2018-008187-

   CC-05 (“Eviction Action”).

          6.      On May 10, 2018, Judge Alexander Bokor ordered A Plus Lamination and

   Finishing, Inc. to deposit rent into the court registry (“Deposit Order”). Ex. 6.

          7.      The Deposit Order required A Plus Lamination and Finishing, Inc. (1) to deposit

   $9,000 by May 7, 2018; (2) to deposit $9,000 by May 14, 2018; and (3) to make timely deposits

   as additional rent became due. Under the Deposit Order, A Plus Lamination and Finishing, Inc.’s

   failure to make timely deposits would constitute “an absolute waiver of its defenses, other than

   payment or proof of payment, and [Landlord] shall be entitled to a Default/Default Final Judgment

   for Removal of A Plus Lamination and Finishing, Inc. and Writ of Possession to issue forthwith

   without the necessity of further hearing pursuant to Section 83.232, Florida Statutes.”

          8.      Landlord and A Plus Lamination and Finishing, Inc. were also ordered to attend

   mediation on May 15, 2018 at 1:30 pm. Id.

          9.      A Plus Lamination and Finishing, Inc. failed to deposit into the court registry the

   $9,000 due on May 14, 2018, resulting in a waiver of defenses and entitling Landlord to immediate

   default final judgment and a writ of possession.

          10.      Neusom filed an Individual Chapter 11 bankruptcy petition (“Petition”) with this

   Court on behalf of Nubia Perez on May 15, 2018, the day after A Plus Lamination and Finishing,

   Inc. failed to make the deposit required by the state court Deposit Order. D.E. 1. Neusom executed

   the Petition on page eleven as counsel for Nubia Perez. Id.

          11.     On page 2 of the Petition, Neusom alleged that Nubia Perez is a small business

   debtor that does business under the name “A Plus Lamination and Finishing, Inc.” This is false.



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   A Plus Lamination and Finishing, Inc., the tenant in the eviction action, is a duly registered Florida

   corporation. It is not a trade name or a “doing business as” name. No evidence was presented that

   would establish A Plus Lamination and Finishing, Inc. is registered as a fictitious name for Nubia

   Perez.3

             12.   Despite the fact that A Plus Lamination and Finishing, Inc. was not in bankruptcy,

   and just hours before the mediation was scheduled to proceed on May 15, 2018, Neusom called

   Desiree Lindsay (“Lindsay”), Landlord’s employee, and Joseph Colletti (“Colletti”), Landlord’s

   Eviction Action counsel and advised them both that he filed a bankruptcy petition on behalf of A

   Plus Lamination and Finishing, Inc.

             13.   Neusom left a voice message for Lindsay advising her that he filed the Petition for

   A Plus Lamination and Finishing, Inc. Neusom also had two phone conversations with Colletti on

   May 15, 2018 where Neusom advised Colletti of A Plus Lamination and Finishing, Inc.’s

   bankruptcy filing, and Neusom’s intent to file a suggestion of bankruptcy in the Eviction Action.

   He also asked Colletti for the Eviction Action case number on the second phone call.

             14.   Colletti having been orally advised by Attorney Neusom that A Plus Lamination

   and Finishing, Inc. filed a bankruptcy petition, he immediately filed a Notice of Cancellation of

   Mediation, stating, “Defendant has filed a petition for relief with the bankruptcy court.” Ex. 8

             15.   Colletti’s testimony was forthcoming, straight-forward, and credible. Colletti took

   contemporaneous handwritten notes during his conversations with Neusom. Ex. 25.




   3
          Neusom filed additional pleadings in this case where he styled the bankruptcy case with
   Debtor’s name as “Nubia Marcella Perez DBA A Plus Lamination.” This Court believes that
   Neusom intended to give the impression that A Plus Lamination and Finishing, Inc. was in
   bankruptcy. See D.E.s 19, 38, 39 and 50.
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            16.   On May 15, 2018, the state court entered an Order of Bankruptcy Stay and Closing

   Case. See Ex. 7.

            17.   During the June 20, 2018, 341 meeting of creditors, Neusom and the Debtor

   admitted that her bankruptcy petition was filed to stop the Eviction Action, an indicia of bad faith

   under Phoenix Piccadilly standards, In re Phoenix Piccadilly, Ltd., 849 F.2d 1393 (11th Cir.1988):




   Ex.18.




                                                    5
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   Ex. 18 at 10:6-15.

          18.     On June 28, 2018, this Court dismissed this case with prejudice, granting (1)

   Landlord’s Motion to Dismiss the Chapter 11 Bankruptcy Petition for Bad Faith and Fraud on the

   Court and for Relief from the Automatic Stay [D.E. 24], (2) United States Trustee’s Motion to

   Dismiss or Convert the Case [D.E. 46], and Debtor’s Motion to Dismiss Bankruptcy [D.E. 49].

   D.E. 52.

          19.     On July 2, 2018, with no erroneously alleged automatic stay in place, Landlord filed

   a Motion for Entry of Default Final Judgment in the Eviction Action, and the state court issued a

   Writ of Possession on July 31, 2018. Exs. 11 and 17.

          20.     Although Landlord obtained a writ of possession on July 31, 2018, A Plus

   Lamination and Finishing, Inc. did not vacate the premises until August 22, 2018.

          21.     Lindsay testified that Landlord had a tenant who wished to rent the Property on

   August 1, 2018, but because A Plus Lamination and Finishing, Inc. was still in the Property, the

   new tenant could not take possession. Landlord was forced to postpone the lease with the new

   tenant by one month, with the new lease commencing September 1, 2018. Ex. 24. Consequently,

   Landlord lost one month of rent under the new lease at $9,256.00.

          22.     As a result of Debtor and Neusom’s filing of the Petition and Neusom’s fraudulent

   representations of an alleged stay of the Eviction Action, Landlord hired the law firm of Meland

   Russin and Budwick, P.A. (“MRB”) to represent it in the bankruptcy case and MRB has incurred

   $40,768.33 in legal fees. Ex. 22.

          23.     MRB’s fees include, among other things, time for attending a 341 meeting of

   creditors; researching and drafting a Motion to Dismiss the Bankruptcy Petition for Bad Faith and

   Fraud on the Court; researching and drafting a Motion for Sanctions against Debtor and Neusom;


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   preparing for and attending a hearing on the Motion to Dismiss; preparing for and attending

   multiple hearings related to the Motion for Sanctions, which was continued twice at the request of

   Attorney Neusom; witness and exhibit preparation; numerous communications with Neusom,

   including settlement discussions and the preparation of an unexecuted settlement agreement. MRB

   also attended the three and one half hour evidentiary hearing on the Motion for Sanctions on

   Friday, September 28, 2018.

          24.        Colletti testified that he, too, filed additional motions and attended additional

   hearings in the Eviction Action that would not have been necessary had Neusom not

   misrepresented a bankruptcy stay was in effect. Colletti advised the state court of the dismissal of

   this case and resumed the Eviction Action. Ex. 14. Landlord paid Colletti an additional $2,000 in

   attorney’s fees to complete the eviction and obtain the writ of possession, which had been delayed

   by Neusom’s false statements.

          25.        Neusom argued that Colletti should have independently researched whether the

   Petition was properly filed in the name of A Plus Lamination and Finishing, Inc., rather than rely

   on Neusom’s representations that A Plus Lamination and Finishing, Inc. filed bankruptcy.

          26.        Landlord presented the testimony of two credible witnesses, both of whom testified

   that Neusom told them he filed a bankruptcy petition on behalf of A Plus Lamination and

   Finishing, Inc.

          27.        Respondent rested without testifying or presenting any witnesses.

                                        CONCLUSIONS OF LAW

          Landlord seeks sanctions against Debtor and Neusom under Bankruptcy Rule 9011 and 11

   U.S.C. § 105. Bankruptcy Rule 9011 states:




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                  By presenting to the court (whether by signing, filing, submitting, or later
                  advocating) a petition, pleading, written motion, or other paper, an attorney
                  or unrepresented party is certifying that to the best of the person's
                  knowledge, information, and belief, formed after an inquiry reasonable
                  under the circumstances,

                  (1)     it is not being presented for any improper purpose, such as to
                   harass or to cause unnecessary delay or needless increase in the cost of
                   litigation;


   (emphasis added). A sanction under this rule should deter repetition of misconduct. Sanctions may

   include non-monetary directives, as well as reimbursement of attorney’s fees and other expenses.

          The Court finds Neusom’s argument, that Colletti had a duty to investigate the validity of

   Neusom’s lie about A Plus Lamination and Finishing, Inc. filing for bankruptcy relief, to be

   misguided, disingenuous, and at odds with the unambiguous language of Rule 9011. Under Rule

   9011, Neusom has the responsibility to sign and file a petition after reasonable inquiry and not for

   an improper purpose or to cause unnecessary delay. By filing the Petition, Neusom certified that

   he conducted a reasonable inquiry, and the Petition was not being brought for an improper purpose

   or to cause unnecessary delay. The Court and other members of the Bar should be able to rely on

   the representations of other licensed attorneys.

          “The purpose of the automatic stay is to give the debtor breathing room. The automatic

   stay is not to be used as an abusive litigation tactic.” In re Smith, 257 B.R. 344, 351 (Bankr. N.D.

   Ala. 2001) (“The petition is excluded from the safe harbor provision of Rule 9011 because its

   filing has immediate serious consequences.”). In this case, however, the Debtor and Neusom used

   the Petition as an abusive litigation tactic. As the testimony at the 341 meeting reveals, and the

   testimonial and documentary evidence from trial indicates, Neusom filed the individual Petition

   on behalf of the Debtor, and included A Plus Lamination and Finishing, Inc. for the improper

   purpose of misleading the state court eviction counsel and the state court judge into staying the

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   Eviction Action. Neusom misrepresented Debtor’s identity in her Petition by alleging that Nubia

   Perez was doing business as A Plus Lamination and Finishing, Inc., when A Plus Lamination and

   Finishing, Inc. is actually a registered Florida corporation.

          Neusom’s misrepresentation to Colletti [that A Plus Lamination and Finishing, Inc. was in

   bankruptcy when it was not] resulted in the cancellation of the May 15, 2018 mediation, and

   generated the entry of an Order implementing a non-existent automatic stay and withholding

   issuance of a writ of possession to which Landlord was entitled as of May 15, 2018. The timing

   of the filing of the Petition and the admissions at the 341 meeting indicate that Neusom filed the

   Nubia Perez Petition for the improper purpose of delaying the Eviction Action, which

   unnecessarily increased the cost of litigation. However, the evidence is not clear that Nubia Perez

   understood what Neusom was doing, and there was no evidence that Nubia Perez told any lie that

   contributed to the Landlord’s counsel or the state court judge being misled. While Neusom knew

   or should have known that filing the Petition as a delay tactic was improper, the same cannot be

   said for the Debtor.

          The Court has the inherent power to sanction bad faith conduct under 11 U.S.C. § 105. In

   re IAMEC Funding, Inc., 236 B.R. 490, 491 (Bankr. M.D. Fla. 1999). The bad-faith filing of a

   bankruptcy petition is sanctionable under 11 U.S.C. § 105. In re Hidalgo, 96 B.R. 389, 390 (Bankr.

   S.D. Fla. 1988). Even more serious is lying to opposing counsel in an effort to mislead him, and

   ultimately the Court. Neusom’s lies caused the Landlord to incur legal fees in the alleged amount

   of $40,768.33 to MRB and $2,000 to Colletti. Landlord also lost $9,256.00 in rent for the month

   A Plus Lamination and Finishing, Inc. held over possession of the Property. In total, Landlord

   claims it lost $52,024.33 because of Neusom’s misconduct. The Court finds that not all the

   requested fees are compensable.



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          Based on the record and evidence admitted at the evidentiary hearing, the Court concludes

   that Attorney Thomas Neusom (Florida Bar number 37148) engaged in sanctionable, bad-faith

   conduct by (1) filing the Individual Chapter 11 Petition for the purpose of stopping the Eviction

   Action against a registered Florida corporation; and (2) misrepresenting Debtor’s identity in the

   Petition to cause confusion. Neusom wrongfully obtained the benefit of the automatic stay for a

   non-debtor by misrepresenting to Lindsay and Colletti that A Plus Lamination and Finishing, Inc.

   was in bankruptcy, thereby obtaining the cancellation of the May 15, 2018 mediation and

   postponement of the issuance of the writ of possession.

          Ironically, if Neusom had filed a bankruptcy petition on behalf of the corporation, he would

   have obtained a stay without having to lie. If Neusom filed a petition on behalf of A Plus

   Lamination and Finishing, Inc., the information he provided to Lindsay and Colletti would have

   been true and he would have achieved the same results that were produced in this case by lies. The

   Court is reminded of the old U.S. Marine Corp adage, “never attribute to malice that which can be

   explained by stupidity.” It is therefore

          ORDERED AND ADJUDGED that Landlord’s Motion for Sanctions under Bankruptcy

   Rule 9011 and 11 U.S.C. § 105 is GRANTED IN PART as follows:

          1. Neusom is liable to Landlord in the total amount of $31,256, representing $2,000 in

              legal fees to Colletti; $20,000 to MRB for legal fees and $9,256.00 for lost rent. If not

              paid within thirty (30) days, Landlord may request the entry of a final judgment for the

              sanctions awarded herein.

          2. Neusom is ENJOINED from practicing bankruptcy in any bankruptcy court in the

              United States for a period of one (1) year from entry of this Order, after which Neusom

              may apply for readmission to bankruptcy practice upon compliance with all the Local



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               Rules of the Court governing admission to practice and completing a total of eighteen

               (18) hours of Continuing Legal Education, consisting of twelve (12) hours of

               Continuing Legal Education in bankruptcy law and six (6) hours of ethics.

           3. The Clerk of Court is directed to forward certified copies of this Order to The Florida

               Bar at 651 E. Jefferson Street, Tallahassee, Florida, 32399 and to the Honorable

               Alexander Bokor, County Court Judge, at Dade County Courthouse. 73 West Flagler

               Street, Miami, FL 33130

                                                    ###


   Copies furnished by Clerk of Court to:

   Debtor
   Thomas Neusom, Esq.
   Utibe Ikpe, Esq.

   Utibe I. Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
   Certificate of Service.




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      1
      2         IN THE BANKRUTCY COURT OF THE SOUTHERN DISTRICT OF FLORIDA
      3
      4    DEBTOR                                             CASE NO: 18-15825
      5
                                                              ATTORNEY THOMAS NEUSOM’S
           NUJBIA MAR ELLA PEREZ.
      6                                                       REQUEST FOR STAY DURING
                                                              PENDENCY OF THE APPEAL
      7
      8
      9
     10
     11
     12
     13
     14
     15
     16
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     18
     19
     20
              1. COMES NOW, Attorney Thomas Neuom requesting that the Honorable Judge A.
     21   Cristol grant a stay of any further proceedings in his lower Bankruptcy Court after granting this
          request for Stay during Pendency of the Appeal and then recusing himself from this case. Upon
     22
          recusal a new Judge should be brought in subject to the Stay.
     23
          2.The relevant part of Bankruptcy Rule of 8007 states:
     24
     25
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                                                          1
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                                                                                      Exhibit B
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      1   3.
      2               Rule 8007. Stay Pending Appeal; Bonds;
      3                     Suspension of Proceedings
      4   (a) Initial Motion in the Bankruptcy Court.

      5          (1) In General. Ordinarily, a party must move first in the bankruptcy court for
               the following relief:
      6            (A) a stay of a judgment, order, or decree of the bankruptcy court pending
      7          appeal;
                   (B) the approval of a supersedeas bond;
      8
                   (C) an order suspending, modifying, restoring, or granting an injunction while
      9          an appeal is pending; or
     10            (D) the suspension or continuation of proceedings in a case or other relief
                 permitted by subdivision (e).
     11
     12
                 (2) Time to File. The motion may be made either before or after the notice of
     13        appeal is filed.

     14
     15   (b) Motion in the District Court, the BAP, or the Court of Appeals on Direct Appeal.

     16          (1) Request for Relief. A motion for the relief specified in subdivision (a)(1)—or
               to vacate or modify a bankruptcy court's order granting such relief—may be made
     17        in the court where the appeal is pending.

     18          (2) Showing or Statement Required. The motion must:

     19            (A) show that moving first in the bankruptcy court would be impracticable; or
                   (B) if a motion was made in the bankruptcy court, either state that the court
     20          has not yet ruled on the motion, or state that the court has ruled and set out
                 any reasons given for the ruling.
     21
     22
                 (3) Additional Content. The motion must also include:
     23
                   (A) the reasons for granting the relief requested and the facts relied upon;
     24
                   (B) affidavits or other sworn statements supporting facts subject to dispute;
     25          and

     26            (C) relevant parts of the record.

     27
                                                       2
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      1       (4) Serving Notice. The movant must give reasonable notice of the motion to all
      2     parties.

      3   (e) Continuation of Proceedings in the Bankruptcy Court. Despite Rule 7062 and
      4   subject to the authority of the district court, BAP, or court of appeals, the
          bankruptcy court may:
      5       (1) suspend or order the continuation of other proceedings in the case; or

      6       (2) issue any other appropriate orders during the pendency of an appeal to
            protect the rights of all parties in interest.
      7   (Added Apr. 25, 2014, eff. Dec. 1, 2014.)
      8                                              PRIOR RULE

      9     A prior Rule 8007, Apr. 25, 1983, eff. Aug. 1, 1983, as amended Mar. 30, 1987,
          eff. Aug. 1, 1987; Apr. 30, 1991, eff. Aug. 1, 1991, related to completion and
     10   transmission of the record and docketing of the appeal, prior to revision of Part
          VIII, Apr. 25, 2014, eff. Dec. 1, 2014.
     11
     12
          4. Judge Cristol must recuse himself after entering the stay due to being disqualified due to being
     13   sued by attorney Thomas Neusom. The case number of the Federal Court suit against Judge A.
     14   Jay Cristol is 1:18CV24517.

     15
     16   WHEREFORE, Neusom prays that the Court:
     17
             1. Stay further proceedings in Case No. 18-15825 during the Pendency of Thomas Neusom’s
     18         Bankruptcy Appeal with Case No. 18-cv-24463-FAM

     19      2. Recuse Judge Cristol from the case after entry of the Stay during the Appeal.
     20
     21
          .Dated: October 30, 2018:
     22
     23
     24                                                        By:/s/Thomas Neusom
                                                               Attorney For Debtor
     25                                                        Bar No. 003717
                                                               (954)200-3536
     26                                                        4737 N. Ocean Drive, #129
     27                                                        Fort Lauderdale, FL 33308
                                                           3
     28
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                                                               Email: tgnoffice35@gmail.com
      1
      2
                                      CERTIFICATE OF SERVICE
      3
      4   I HEREBY CERTIFY that a true and correct copy of the foregoing COUNSEL’S MOTION
          FOR RECUSAL OF JUDGE A. JAY CRISTOL AND REQUEST FOR STAY
      5    was furnished by email to the following on October 30, 2018, to the parties on the efiling portal
          service list by email.
      6
      7
      8
                                                               By:/s/Thomas Neusom
      9                                                        Attorney For Debtor
     10                                                        Bar No. 0037174
                                                               Phone; (954)200-3536
     11                                                        4737 N. Ocean Drive, #129
                                                               Fort Lauderdale, FL 33308
     12                                                        Email: tgnoffice35@gmail.com
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      1
      2           UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF FLORIDA
      3
      4                                                      CASE NO:
           THOMAS NEUSOM
      5
                                                             COMPLAINT FOR DAMAGES:
           THOMAS NEUSOM, P.A.
      6
           PLAINTIFFS                                        CAUSES OF ACTION
      7
           VS.                                               FRAUD
      8
           BRIAN HOLLAND                                     VIOLATION OF UNITED STATES
      9
                                                             CONSTITUTION EQUAL PROTECTION
           ANDREA HOLLAND
     10                                                      AND DUE PROCESS CLAUSES
           PETER RUSSIN
     11
           JUDGE A. JAY CRISTOL IN AN
     12    OFFICIAL CAPACITY
     13    A. JAY CRISTOL INDIVIDUALLY
                                                             JURY TRIAL DEMANDED
     14
           JOSEPH A. COLLETTI
     15
     16
     17
     18
     19
     20
     21   1.COMES NOW, Attorney Thomas Neusom, bringing a lawsuit against the Defendants for
     22
          Fraud and for Violation of The United States Constitution, Civil Rights Laws and illegal
     23
          racial discrimination.
     24
     25
     26
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                                                         1
     28
                                                                                    Exhibit C
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      1
                                        Jurisdiction
      2
                                 Federal Question Jurisdiction
      3
          2. This court has jurisdiction under 28 U.S.C. § 1331. Federal question jurisdiction arises
      4
      5   pursuant to the United States Constitution and Civil Rights Laws.

      6
      7
                                        Venue
      8
          3. Venue is proper pursuant to 28 U.S.C § 1391 because the events giving rise to this complaint
      9
     10   happened in this district.

     11                                 Parties:
     12
          THOMAS NEUSOM
     13
          THOMAS G. NEUSOM, P.A.
     14
          PLAINTIFFS
     15
          VS.
     16
          BRIAN HOLLAND
     17
          ANDREA HOLLAND
     18
          PETER RUSSIN
     19
          JUDGE A. JAY CRISTOL IN AN
     20   OFFICIAL CAPACITY

     21   A JAY CRISTOL INDIVIDUALLY

     22
          JOSEPH A. COLLETTI
     23
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      1
      2                                 Statement of Facts

      3
          4. On May 30, 2018, Attorney Peter Russin filed LANDLORD’S MOTION FOR SANCTIONS
      4
          PURSUANT TO BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105 in Case No. 18-15825-
      5
      6   AJC.

      7
      8   5. On October 4, 2018, Judge A. Jay Cristol entered incorrect illegal Findings Of Fact And

      9   conclusions Of Law in Case No. 18-15825. M ore specifically FINDINGS OF FACT AND

     10   CONCLUSIONS OF LAW ON BRIAN AND ANDREA HOLLANDS MOTION FOR
     11
          SANCTIONS UNDER BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105.
     12
     13   6. The hearings leading up to the entering of the Order were handled in a way that violated the
     14
          United States Constitution’s Equal Protection Clauses and the Due Process Clause. For instance,
     15
     16   Judge Cristoll threatened to put Attormey Thomas Neusom in Federal Detention with no

     17   explanation or justification, among other things.
     18
     19   7. During a hearing on September 28, 2018 when Neusom was examining Joseph Colletti Judge
     20
          Cristol interrupted numerous times and objected to the questions of Neusom in order to stop him
     21
          from obtaining testimony that was effectively showing that Holland had no case.
     22
     23
          8. The illegal bias against Neusom was open and clear numerous times and violated the
     24
     25   Constitutional, and legal and civil rights of Neusom.

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      1
          9. The October 4, 2018 Findings Of Fact And Conclusions Of Law of Judge A. Jay Cristol
      2   contains material misstatements such as Neusom lied to Colletti. This is untrue. Neusom may
          have contacted Colletti to settle the case or get information about the eviction such as the status
      3
          of the lease to determine whether the personal Bankruptcy entitled Perez to a Stay. Colletti
      4   misunderstood and didn’t realize not any Bankruptcy by Perez would entitle A Plus to a Stay. It
          depended on the language in the Lease which Neusom did not have when he contacted Colletti
      5   and he was trying to obtain it if it existed.
      6
           10. When Neusom took the case he had to obtain company records, contracts and other
      7   documents from creditors because Perez did not have them or was unable to get them to
      8   Neusom.

      9   11. The plain and concise statement of the illegality Plaintiff Neusom was subjected to by
     10   Defendants is fully explained in the Causes of Action Claims.

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      1
      2                                  CLAIMS

      3                          FIRST CAUSE OF ACTION
      4
                                         FRAUD
      5
          12. Plaintiff Thomas Neusom brings a claim for Fraud against the Defendants.
      6
          Fraud is the purposeful falsification of information, the perversion of the truth, or the false
      7
      8   representation of a matter of fact.

      9
          13.On May 30, 2018, Attorney Peter Russin filed LANDLORD’S MOTION FOR SANCTIONS
     10
     11   PURSUANT TO BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105 In Case No. 18-15825-

     12   AJC
     13
     14   14. On October 4, 2018, Judge A. Jay Cristol entered factually incorrect illegal Findings Of Fact
     15   And conclusions Of Law in Case No. 18-15825. M ore specifically FINDINGS OF FACT AND
     16
          CONCLUSIONS OF LAW ON BRIAN AND ANDREA HOLLANDS MOTION FOR
     17
          SANCTIONS UNDER BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105.
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     19
          15. The hearings leading up to the entering of the Order were handled in a way that was
     20   fraudulent and violated the United States Constitution’s Equal Protection Clauses and the Due
     21   Process Clause. For instance, at the first sanction hearing on July 27, 2018 Judge Cristoll
          threatened to put Attormey Thomas Neusom in Federal Detention with no explanation or
     22   justification, among other things.
     23
     24   16. During a hearing on September 28, 2018 when Neusom was examining Joseph Colletti Judge
          Cristol interrupted numerous times and objected to the questions of Neusom in order to stop him
     25
          from obtaining testimony that was effectively showing that Holland had no case. He never once
     26   interrupted or objected to Holland’s Counsel.

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      1
          17. The illegal bias against Neusom was open and clear numerous times and violated the
      2
          Constitutional and civil rights of Neusom.
      3
      4
          18. The October 4, 2018 Findings Of Fact And Conclusions Of Law of Judge A. Jay Cristol
      5
      6   contains material misstatements such as Neusom lied to Colletti. This is untrue. Neusom may

      7   have contacted Colletti to get information about the eviction such as the status of the lease to
      8
          determine whether the personal Bankruptcy entitled Perez to a Stay. Colletti misunderstood and
      9
     10   didn’t realize not any Bankruptcy by Perez would entitle A Plus to a Stay. It depended on the

     11   language in the Lease which Neusom did not have when he contacted Colletti and he was trying
     12
          to obtain it if it existed.
     13
     14
          19. Nubia Perez is from does not speak English well and was not good at keeping records. When
     15
          Neusom took the case he had to obtain company records, contracts and other documents from
     16
     17   creditors because Perez did not have them or was unable to get them to Neusom.

     18
     19
          20. The Motion For Sanctions filed by Russin was a Fraud as well as the Order granting it
     20
          because there is no law supporting it. The Order is a random act based on lies, misrepresentations
     21
          and material omissions. The ruling is the product of illegal bias and is racially discriminatory
     22
     23   against Neusom.

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      1
      2   21. It appeared that the Court denied the Motion To Abstain, but granted it by limiting their

      3   motion to the Bankruptcy issues and not allowing claims on the State Court eviction action. But
      4   the final Order of Cristol awards damages for delay of the eviction but the eviction Judge Boker
      5
          did not award damages and Alex Borell eviction Counsel said the Rent Registry Order was not
      6
          violated by a Bankruptcy, yet Cristol awarded damages anyway for a case that was not even his.
      7
      8   This Order goes beyond his authority and he should have abstained as requested by Neusom and

      9   Perez. This Sanction Order is a fraud with no legal basis and ordering Neusom to pay $30,000

     10   by a flawed judicial decree is a form of strong arm robbery.
     11
     12
          22. The facts essentially undercuts Landlord’s claim for damages because the eviction was the
     13
          basis for the claim for damages, but this is erroneous because Holland’s Motion For Sanctions is
     14
     15   fully and completely dependent on things that took place in the eviction and that needs to be

     16   handled by the state court as plaintiff has argued. The Court essentially recasted the Sanctions
     17   motion while the appropriate thing would have been to abstain, strike or deny the motion.
     18
     19   23. Debtor presented numerous motions to the Court which included a Motion To Abstain, to
     20   Strike, or for Summary Denial of Holland’s motion For Sanctions. A Motion In Limine and a
     21
          Motion To Strike Colletti’s testimony due to a Violation of Rule 408 of the Federal Rules of
     22
          Civil Procedure was also presented.
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      1   24. It is clear that there was no legal basis to grant Holland sanctions and granting it was a Fraud.
      2
          Holland’s primary witness was Colletti who said that during a telephone conversation with
      3
          Neusom, which Neusom made for settlement purposes, he was told that a Bankruptcy was filed
      4
      5   and because of this he cancelled a mediation and somehow a stay was entered in an eviction

      6   case.

      7
          25. Neusom was not an attorney in the eviction case and he was unaware that Colletti cancelled
      8
      9   the mediation and somehow arranged for a stay. Due to not being eviction Counsel Neusom did

     10   not know Coletti was doing this and he did not know Colletti had done it until months later.
     11   Holding Neusom liable under these facts is a fraud.
     12
     13   26. Sometime around May 15, 2018, Colletti and Holland hired Bankrutpcy Counsel and Colletti
     14   was informed that what he had did may have been incorrect even though the eviction Court
     15
          Judge Boker issued no sanction for the stay and made no finding of a violation. Colletti blamed
     16
          Neusom and sanctions were sought against him for what Colletti did in the eviction case.
     17
          Perez’s eviction Counsel was Borell.
     18
     19
          27. Colletti violated the Florida Rules of Professional Responsibility when he litigated the
     20
          bankruptcy issues in the eviction case with insufficient knowledge and experience. He should
     21
     22   have obviously obtained Co-counsel or sought advice before he acted and claims against

     23   Neusom or Perez are meritless and granting sanctions is a fraud and is indicative of bias.

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          28. 4-1. CLIENT-LAWYER RELATIONSHIP RULE 4-1.1 COMPETENCE A lawyer
      1   must provide competent representation to a client. Competent representation requires the legal
      2   knowledge, skill, thoroughness, and preparation reasonably necessary for the representation.
          Comment Legal knowledge and skill In determining whether a lawyer employs the requisite
      3   knowledge and skill in a particular matter, relevant factors include the relative complexity and
          specialized nature of the matter, the lawyer’s general experience, the lawyer’s training and
      4   experience in the field in question, the preparation and study the lawyer is able to give the
      5   matter, and whether it is feasible to refer the matter to, or associate or consult with, a lawyer of
          established competence in the field in question. In many instances the required proficiency is
      6   that of a general practitioner. Expertise in a particular field of law may be required in some
          circumstances. A lawyer need not necessarily have special training or prior experience to handle
      7   legal problems of a type with which the lawyer is unfamiliar. A newly admitted lawyer can be as
          competent as a practitioner with long experience. Some important legal skills, such as the
      8
          analysis of precedent, the evaluation of evidence and legal drafting, are required in all legal
      9   problems. Perhaps the most fundamental legal skill consists of determining what kind of legal
          problems a situation may involve, a skill that necessarily transcends any particular specialized
     10   knowledge. A lawyer can provide adequate representation in a wholly novel field through
          necessary study. Competent representation can also be provided through the association of a
     11   lawyer of established competence in the field in question. Competent representation may also
     12   involve the association or retention of a non-lawyer advisor of established technological
          competence in the field in question. Competent representation also involves safeguarding
     13   confidential information relating to the representation, including, but not limited to, electronic
          transmissions and communications. In an emergency a lawyer may give advice or assistance in a
     14   matter in which the lawyer does not have the skill ordinarily required where referral to or
     15   consultation or association with another lawyer would be impractical. Even in an emergency,
          however, assistance should be limited to that reasonably necessary in the circumstances, for ill-
     16   considered action under emergency conditions can jeopardize the client’s interest. A lawyer may
          accept representation where the requisite level of competence can be achieved by reasonable
     17   preparation. This applies as well to a lawyer who is appointed as counsel for an unrepresented
          person. See also rule 4-6.2. Thoroughness and preparation Competent handling of a particular
     18
          matter includes inquiry into and analysis of the factual and legal elements of the problem, and
     19   use of methods and procedures meeting the standards of competent practitioners. It also includes
          adequate preparation. The required attention and preparation are determined in part by what is at
     20   stake; major litigation and complex transactions ordinarily require more extensive treatment than
          matters of lesser complexity and consequence. The lawyer should consult with the client about
     21   the degree of thoroughness and the level of preparation required as well as the estimated costs
     22   involved under the circumstances. Maintaining competence To maintain the requisite knowledge
          and skill, a lawyer should keep abreast of changes in the law and its practice, engage in
     23   continuing study and education, including an understanding of the benefits and risks associated
          with the use of technology, and comply with all continuing legal education requirements to
     24   which the lawyer is subject.
          Amended March 23, 2006, effective May 22, 2006 (SC04-2246), (933 So.2d 417); September
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          29, 2016, effective January 1, 2017 (SC16-574), 200 So.3d 1225.
     26   RRTFB September 17, 2018

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      1
      2   29. The facts are that Neusom filed a personal Bankruptcy for Nubia Perez. In the Petition he

      3   only answered the Bankruptcy petition questions and Judge Cristol granting sanctions against
      4   Neusom under these circumstances is fraudulent and racially discriminatory and a violation of
      5
          Equal Protection.
      6
      7   30. The Court seemed to state that it would grant sanctions because Neusom spoke to Colletti
      8
          about a bankruptcy and Colletti then took actions in the eviction. A finding for Holland granting
      9
          sanctions was a clearly erroneous ruling and a fraud under the circumstances.
     10
     11   31. In Court and on the Court CD Transcript Judge Cristol said if Neusom did not file the
     12
          Suggestion of Bankruptcy he may be off the hook for sanctions. It is undisputed that Neusom
     13
          did not file a suggestion of bankruptcy, therefore the Motion For Sanctions should have been
     14
     15   denied. And any claim that Neusom is responsible for someone else filing a Suggestion of

     16   Bankruptcy is frivolous. A Condition Precedent for dismissal may have occurred and the Motion

     17   For Sanctions should have been summarily denied.
     18
     19   32. The A Plus eviction judgment is final and no sanctions were awarded for the stay by the

     20   eviction Court. The rules on finality of judgments should have been respected and the
     21   Bankruptcy Court should have abstained from hearing Holland’s sanction motion or denied it.
     22
          Granting it was a fraud.
     23
     24   33. Neusom objected to Colletti’s testimony because any calls made to him by Neusom in the
     25
          Course of settlement negotiations were inadmissible settlement communications.
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          34. Colletti is an experienced attorney and for him to try to claim Neusom misled him is
      1
      2   shameful, and has no legal basis, particularly when Colletti had the Lease and Neusom did not

      3   have it or had a chance to review it prior to speaking to Colletti.
      4
      5
          35. At the hearing on August 16, 2018 Utibe Ikpe said that Hollands eviction attorney put in for
      6
          the stay after he heard about the Nubia Perez bankruptcy. Engaging in such an act is a waiver of
      7
          any defenses or of Holland bringing a motion for sanctions. Holland assumed the risk.
      8
      9   Neusom could have filed a Suggestion of Bankruptcy when the petition was filed, but it

     10   depended on a number of factors and he was unsure if it should have been filed at that time and
     11
          under the circumstances so he did not do it.
     12
     13
          36. Holland hired an Attorney, Joseph Colletti, who mistakenly cancelled a mediation and put in
     14
     15   a stay and Holland hired another attorney to seek sanctions against Neusom for a stay that his

     16   Attorney put in. This is inconsistent illogical bad faith litigation. There is no privity between
     17   Neusom and Colletti. The only person Holland has a right to seek sanctions from is his own
     18
          Attorney Colletti, who allegedly put in the stay without any request or authorization from Nubia
     19
          Perez or Thomas Neusom that Neusom is aware of. Colletti did what he thought was the right
     20
     21   thing to do and it is fraudulent to try to hold Neusom responsible for that.

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          37. Neusom did file a personal bankruptcy for Perez but he did not immediately file a Notice of
      1
      2   Appearance in the Eviction case and file for a stay. A lot more research had to be done before

      3   someone acted like Holland’s attorney Colletti did. There is no basis for sanctions against Perez
      4   or Neusom for what Holland’s attorney Coletti did and the sanctions are a fraud.
      5
      6
          38. Due to the state Court dependence of the motion for sanctions it is quite clear that the
      7
      8   Bankruptcy court should have granted the motion to abstain and granting sanctions was a fraud.

      9   Perez and A Plus were legally entitled to a stay and would have obtained it with a business

     10   bankruptcy if needed but Colletti’s actions made it unnecessary at that time.
     11
     12
          39. It was wrong for Holland to seek sanctions against Nubia Perez and Thomas Neusom for
     13
          what his own attorney, Colletti, unexpectedly did. But it could have been legally correct so there
     14
     15   is no basis for sanctions. It was Colletti’s choice. And A Plus was prepared to file the business

     16   bankruptcy when needed so the stay could have been obtained one way or another if needed so
     17   therefore seeking and granting sanctions is clearly a fraud.
     18
     19
          40. Holland received Nine Thousand Dollars ($9,000.00)from the Court registry. And he has
     20
     21   refused to return the Eighteen Thousand Dollar ($18,000) A Plus Security Deposit. They have

     22   already received Twenty Seven Dollars ($20,000.00) from A Plus and they are not entitled to

     23   anything else and are seeking a double recovery which defendants are fraudulently seeking from
     24
          Neusom and could obtain from the sanctions Order of Judge Cristol.
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             A. A Federal Bankruptcy court cannot act as a State Appellate Court. The Landlord
      1
                Holland needs and needed to seek relief in the State Court and the Bankruptcy
      2         Court Should Not Have Acted Like a State Trial Court or State Appellate Court,
                which Holland Sought And The Court Granted
      3
      4   41. Holland filed an eviction against A Plus Lamination And Finishing in Miami Dade County
      5
          with Case Number 18-8187CC05.        Holland sought sanctions against Perez and her Counsel
      6
          Thomas Neusom in Federal Bankruptcy Court for what happened in a State Court eviction
      7
          action that had been closed and a default Final Judgment has been entered. State Court is the
      8
      9   proper place for them to seek their remedy.

     10
          42. The landlord Holland obtained a Writ Of Possession and obtained possession of the subject
     11
     12   property. The eviction case is closed at this time and Holland has refused to return the A Plus

     13   Lamination Security Deposit or follow proper procedures in violation of State Law.
     14
     15
          43. The Bankruptcy Court has no legal basis or jurisdiction to further adjudicate a State Court
     16
          matter under numerous legal doctrines. What the Bankruptcy Judge A. Jay Cristol did is a
     17
          fraud against Neusom.
     18
     19
     20   44. The Bankruptcy Court has no jurisdiction to act as a State Appellate Court even under
     21
          BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105.
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              B. THE 21 DAY SAFE HARBOR PROVISION WAS NOT COMPLIED WITH AND
      1
                 THE EXCEPTION DOES NOT APPLY
      2
          45.Bankruptcy Rule 9011 was also incorrectly used and invoked because Holland did not comply
      3
          with the 21 day safe harbor provision. The sanction motion says it is for filing the bankruptcy
      4
      5   Petition and taking it to state Court. Therefore it is really about invoking it against the Registry

      6   Order and not the filing of the petition so the 21 day safe Harbor provision should have been

      7   complied with. The Defendant’s complete disregard or unjustifiable excuse for not complying
      8
          with the 21 Day Safe Harbor provision is a fraud.
      9
     10   46.Attorney Thomas Neusom was not the eviction attorney and was not at the hearing when the
     11   stay was imposed. The state court judge determined it should be imposed and no one in the
     12
          State Court action initially contested this and this is where the real problem lies.
     13
     14   47.If the Landlord’s Attorney did not agree with the stay, they should have filed a Motion For
     15
          Rehearing or withdrew what Colletti filed to cancel the mediation and possibly get the stay,
     16
          if he obtained it.
     17
     18
     19   48. Due to the landlord Attorney’s failure to take proper action in the state court proceeding the

     20   stay may have been put in improperly and it stayed when it shouldn’t have but this was actually a
     21   decision for the state court judge and eviction attorneys to make and it depended on a number of
     22
          issues such as the Lease. Neusom is not responsible and to try to hold him responsible when he
     23
          was not in the case is a fraud.
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          49 APLUS Lamination Manager Kathy Ware told Neusom that the A Plus eviction Attorney
      1
      2   Alex Borell said that the Rent Registry Order would not be violated by the filing of a

      3   Bankruptcy.
      4
      5
          50. The Rent Registry Order does not say a Bankruptc is a violation and Judge Boker granted a
      6
          Bankruptcy Stay without sanctioning or punishing APlus in any way.
      7
      8
      9   51. The circumstances under which the Stay was entered is a separate issue. But the fact that

     10   Judge Boker was accepting of a Bankruptcy as not a violation of the Rent Registry Order is clear.
     11
          So under these facts it would be clear error for the Bankruptcy Judge to declare a violation of
     12
          another Judges order where the issuing Judge found no error.
     13
     14
     15   52. Holland and Colletti’s entire basis for seeking sanctions seems to be based on a phone

     16   conversation where Neusom allegedly told him something. This phone call was
     17   inadmissible under Federal Rule of Evidence 408 as Compromise Negotiations and
     18
          inadmissible hearsay under Rule 802. Even if the statement or call is admissible under an
     19
          exception like state of mind it would not be admissible for its truth, the way the Court is
     20
     21   admitting it.

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      4                            Rule 408 – Compromise Offers and Negotiations
      5
          (a) Prohibited Uses. Evidence of the following is not admissible — on behalf of any party —
      6   either to prove or disprove the validity or amount of a disputed claim or to impeach by a prior
          inconsistent statement or a contradiction:
      7   (1) furnishing, promising, or offering — or accepting, promising to accept, or offering to accept
          — a valuable consideration in compromising or attempting to compromise the claim; and
      8
      9   (2) conduct or a statement made during compromise negotiations about the claim — except when
          offered in a criminal case and when the negotiations related to a claim by a public office in the
     10   exercise of its regulatory, investigative, or enforcement authority.
     11
          (b) Exceptions. The court may admit this evidence for another purpose, such as proving a
     12   witness’s bias or prejudice, negating a contention of undue delay, or proving an effort to obstruct
          a criminal investigation or prosecution.
     13
     14
     15   53. Rule 802. The Rule Against Hearsay Hearsay is not admissible unless any of the following
          provides otherwise: • a federal statute; • these rules; or • other rules prescribed by the Supreme
     16   Court. (As amended Apr. 26, 2011, eff. Dec. 1, 2011.)
     17   54. It is clear that granting sanctions is error and a fraud.
     18
          55. The Bookkeeper for Holland testified about the Twenty Thousand Dollar
     19
          ($20,000.00) security deposit, the claimed balance owed so the facts are pretty clear. Holland’s
     20
     21   remedy is in the eviction court, not the Bankruptcy court with a bogus fraudulent sham Motion

     22   for Sanctions which clearly should not have been granted and which Neusom and Perez

     23   respectfully requested that the Court Vacate. Ordering Neusom to pay Thirty Thousand Dollars
     24
          ($30,000.00) to Colletti and Holland for Colletti’s mistake is clear error, racism and is arguably a
     25
          form of judicially sanctioned theft. It is and will be appealed and I sincerely believe the Order
     26
          will not stand.
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      1
      2   56. From what Neusom remembers he likely told Coletti Perez filed a Personal Bankruptcy and

      3   she is prepared to file a Business Bankruptcy. But I need a copy of the lease to determine if we
      4   are entitled to a Stay and how to proceed. But I did not ask for a stay or anything in particular
      5
          other than a complete settlement of the case. If Colletti went for a stay based on one settlelement
      6
          conversation that is up to him if he felt it was the right thing to do .
      7
      8
      9   57.Neusom did not even know he had done it until months later. I was not retained to be

     10   eviction counsel and never appeared in the case. Colletti moved slowly to lit the stay and to hold
     11
          Neusom liable for Colletti’s slowness is a fraud.
     12
     13
          58.But at this point Appeal is not enough, Neusom had to file a lawsuit to address the injustice
     14
     15   and fraud he has been subjected to. The Court wants to shut down Neusom’s bankruptcy

     16   practice for a year for what Colletti did and that hurts Neusom financially and in many other
     17   ways. Neusom seeks damages for Fraud and Constitutional Violations.
     18
     19
          59. And while not accepted as fair, the Court’s $30,000.00 sanction seems to be based on
     20
     21   two months of delay for rerenting Hollands space.. This is also error because any competent

     22   eviction Attorney should have or could have discovered there error in a few days and could have

     23   had the stay lifted sooner if they or Colletti wanted to. Waiting two months and to charge
     24
          Neusom for two month’s of Colletti’s mistake is unconscionable, illegal and a fraud which
     25
          Colletti and Russin controlled, not Neusom.
     26
     27
                                                             17
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      1
      2         C. RULE 9001 SAYS THAT SANCTIONS NEED TO BE APPROPRIATE AND
                   LIMITED TO WHAT IS SUFFICIENT AND THE COURT GRANTING $30,000
      3            IS A FRAUD
      4
          60.Neusom is still unaware of any legitimate bases for granting sanctions against him for
      5
          Colletti’s admitted error. Nor was there a basis for granting sanctions under Rule 9011. The size
      6
          of the sanction is also indefensibly high and a fraud because Collettis own bookkeeper testified
      7
          A Plus was moving out of the space during the period Neusom is being sanctioned and asked to
      8
          pay for. This is a Holland lease issue that cannot legally be transformed to the Law Office Of
      9
     10   Thomas G. Neusom, P.A. tab. This is fraud and is going to bankrupt the Office.

     11
     12
     13   61.

     14     Rule 9011. Signing of Papers; Representations to the Court; Sanctions; Verification and
                                                      Copies of Papers
     15
          The relevant portions of the Rule for this Complaint states:
     16
     17   (c) SANCTIONS. If, after notice and a reasonable opportunity to respond, the court determines that
          subdivision (b) has been violated, the court may, subject to the conditions stated below, impose
     18
          an appropriate sanction upon the attorneys, law firms, or parties that have violated subdivision
     19   (b) or are responsible for the violation.

     20         (1) How Initiated.
                   (A) By Motion. A motion for sanctions under this rule shall be made separately from other
     21         motions or requests and shall describe the specific conduct alleged to violate subdivision (b).
     22         It shall be served as provided in Rule 7004. The motion for sanctions may not be filed with
                or presented to the court unless, within 21 days after service of the motion (or such other
     23         period as the court may prescribe), the challenged paper, claim, defense, contention,
                allegation, or denial is not withdrawn or appropriately corrected, except that this limitation
     24         shall not apply if the conduct alleged is the filing of a petition in violation of subdivision (b).
     25         If warranted, the court may award to the party prevailing on the motion the reasonable
                expenses and attorney's fees incurred in presenting or opposing the motion. Absent
     26         exceptional circumstances, a law firm shall be held jointly responsible for violations
                committed by its partners, associates, and employees.
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                (B) On Court's Initiative. On its own initiative, the court may enter an order describing the
      1       specific conduct that appears to violate subdivision (b) and directing an attorney, law firm,
      2       or party to show cause why it has not violated subdivision (b) with respect thereto.
              (2) Nature of Sanction; Limitations. A sanction imposed for violation of this rule shall be
      3
            limited to what is sufficient to deter repetition of such conduct or comparable conduct by
      4     others similarly situated. Subject to the limitations in subparagraphs (A) and (B), the sanction
            may consist of, or include, directives of a nonmonetary nature, an order to pay a penalty into
      5     court, or, if imposed on motion and warranted for effective deterrence, an order directing
            payment to the movant of some or all of the reasonable attorneys’ fees and other expenses
      6     incurred as a direct result of the violation.
      7         (A) Monetary sanctions may not be awarded against a represented party for a violation of
              subdivision (b)(2).
      8
                 (B) Monetary sanctions may not be awarded on the court's initiative unless the court
      9       issues its order to show cause before a voluntary dismissal or settlement of the claims made
     10       by or against the party which is, or whose attorneys are, to be sanctioned.

     11
     12    62. The case law cited in Holland’s own motion gives guidance on what an appropriate sanction
          is.
     13
     14   63. In Re Douglas, 141 B.R. 252 (Bankr. N.D. Ga. 1992)
     15
          United States Bankruptcy Court, N.D. Georgia
     16   Filed: March 20th, 1992
          Precedential Status: Precedential
     17
          Citations: 141 B.R. 252
     18   Docket Number: Bankruptcy No. A91-64357-SWC
          Judges: Stacey W. Cotton
     19
          When granting sanctions in the Douglas case the court concluded by stating:
     20
     21    “In its motion, California Federal seeks attorney's fees and expenses incurred in preparing and
               presenting the emergency motion to dismiss debtor's Chapter 13 case and its motion for
     22    sanctions. Bankruptcy Rule 9011 authorizes the court to impose ". . . an appropriate sanction,
            which may include an order to pay to the other party or parties the amount of the reasonable
     23   expenses incurred because of the filing of the document, including a reasonable attorney's fee."
           Fed.R.Bankr.P. 9011. Sanctions may include the reasonable expenses of pursuing the Rule 11
     24
           claim. Mike Ousley Prod. Inc., 952 F.2d at 383-84. Counsel for California Federal has filed an
     25   affidavit setting forth an itemization of the services rendered and expenses incurred in preparing
           the motions to dismiss and for sanctions. This affidavit states that California Federal incurred
     26   $1,630.25 in fees and expenses. Having examined the itemization of services and expenses, the
             court finds and concludes that the hourly rates charged are within the range of hourly rates
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           charged by attorneys and paraprofessionals of comparable skill, experience and reputation. The
      1   services rendered were reasonable and necessary in the filing and prosecution of these motions in
      2   response to this abusive and improper serial bankruptcy filing. Accordingly, California Federal's
            motion for sanctions is granted. The court imposes sanctions upon debtor's counsel, Milton D.
      3    Jones, for California Federal's attorney's fees and expenses in the sum of $1,630.25.” 141 B.R.
                                                       252 (1992)
      4
          In re Harold DOUGLAS, Debtor. CALIFORNIA FEDERAL BANK, FSB, Movant,
      5
          v. Harold DOUGLAS, Respondent. Bankruptcy No. A91-64357-SWC. United States
      6   Bankruptcy Court, N.D. Georgia, Atlanta Division. March 20, 1992.

      7
      8
          64. In Re Morgan, 85 B.R. 622 (Bankr. M.D. Fla. 1987)
      9
          United States Bankruptcy Court, M.D. Florida
     10
          Filed: October 26th, 1987
     11   Precedential Status: Precedential
          Citations: 85 B.R. 622
     12   Docket Number: Bankruptcy No. 87-4663
     13   Judges: Alexander L. Paskay

     14   When granting sanctions in the Morgan case, the Court concluded by stating:
     15
     16   “Clearly, it was not the intent of Congress to allow Debtors to file Chapter 7 Petitions for the
          singular purpose of delaying the inevitable conclusion of foreclosure. As it is admitted by the
     17   Debtor's counsel that the sole purpose for filing the Debtor's petition was to prevent and delay
          the foreclosure sale by C & S, this Court is satisfied that sanctions in the amount of $1,000.00
     18   should be imposed jointly and severally against the Debtor and her attorney, Michael Steinberg,
     19   to compensate for attorney fees incurred in connection with the aborted foreclosure sale.
          It should be noted, however, that the imposition of these sanctions should be conditioned upon
     20   the occurrence of a proposed sale of the property in dispute, as in the event the property is sold,
     21   C & S will receive compensation for attorney fees incurred by means of the sale proceeds.
          Accordingly, it is
     22
          ORDERED, ADJUDGED AND DECREED that the Motion for Sanctions against Debtor and
     23   Debtor's Counsel be, and the same is hereby, granted, and Janet Morgan and Michael Steinberg
          are hereby directed to pay C & S $1,000.00 in the event the proposed sale of the Debtor's
     24   property does not occur. It is further
     25   ORDERED, ADJUDGED AND DECREED that in the event the proposed sale does not occur, C
          & S may seek an Order by this Court directing Janet Morgan and Michael Steinberg to make
     26   payment in the amount of $1,000.00 as sanctions.”85 B.R. 622 (1987) In re Janet K. MORGAN,
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          Debtor. Bankruptcy No. 87-4663. United States Bankruptcy Court, M.D. Florida, Tampa
      1   Division. October 26, 1987.
      2
      3
          65. In Re McBride Estates, Ltd., 154 B.R. 339 (Bankr. N.D. Fla. 1993)
      4
          United States Bankruptcy Court, N.D. Florida
      5
          Filed: March 26th, 1993
      6   Precedential Status: Precedential
          Citations: 154 B.R. 339
      7   Docket Number: Bankruptcy No. 92-07497
          Judges: Lewis M. Killian, Jr.
      8
      9
     10   When granting sanctions in In Re Mcbride the Court concluded by stating:

     11
          “Based on the foregoing findings, we find that the filing of the Chapter 11 petition by McBride
     12   and its resistance to Barnett's motion for relief from the stay were done for an improper purpose,
     13   that is the unnecessary delay in the completion of the foreclosure sale by Barnett Bank, and that
          such petition and opposition were not well grounded in fact or warranted by existing law or good
     14   faith argument for the extension, modification, or reversal of existing law. B.R. 9011. The costs
          incurred by Barnett as a result of the actions of McBride Estates and its attorney in filing the
     15   petition for relief under Chapter 11 and resisting the motion for relief from stay are as follows:
     16   1) $1,440.88 publication costs for foreclosure sale.
     17   2) $190.00 paralegal expenses preparing for foreclosure sale.
     18
          3) $2,340.50 attorney's fees in connection with the motion for relief from stay.
     19
          *344 4) $60.00 filing fee for motion for relief from stay.
     20
          5) $500 attorney's fees in connection with the motion for sanctions.
     21
     22   Total $4,531.38.

     23   154 B.R. B339 (1993) In re McBRIDE ESTATES, LTD. Debtor. Bankruptcy No. 92-07497.
          United States Bankruptcy Court, N.D. Florida, Tallahassee Division. March 26, 1993.
     24
     25   The In In Re Mcbride the sanction was $2,840.00.
     26
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      1
          66. A review of the three of Holland’s own cited cases shows that an appropriate sanction ranges
      2
          from One Thousand Dollars ($1,000.00) to Two Thousand Eight Hundred Dollars Forty Dollars.
      3   ($2,840.00).
      4
      5   67. The Thirty Thousand Dollar ($30,000.00) sanction the Court is attempting to impose on
          Neusom is clearly excessive, unwarranted, fraudulent, is not appropriate or limited and does not
      6
          comply with 9001.
      7
      8   68. Neusom denys wrongdoing, does not admit to liability and believe granting sanctions is
      9   wrong.
     10
          69. The eviction case with its security deposit, dumpster fee claims, move out delay and other
     11
          issues is a separate matter Defendants including Judge A. Jay Cristol cannot hold Neusom liable
     12
          for legally and damages of no less than Eighty Thousand Dollars ($80,000.00) are sought
     13   according to proof because the Law Office of Thomas G. Neusom has had to work over 50 hours
     14   on the sanctions motion. The Findings of Fact and Conclusions of Law Order were fraudulently
     15   obtained and granted.

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      2
      3                             SECOND CAUSE OF ACTION
      4   VIOLATION OF THE EQUAL PROTECTION CLAUSE AND FIFTH AMENDMENT
          DUE PROCESS
      5
      6   70.On May 30, 2018, Attorney Peter Russin filed LANDLORD’S MOTION FOR SANCTIONS
      7   PURSUANT TO BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105
           In Case No. 18-15825-AJC
      8
      9   71.On October 4, 2018, Judge A. Jay Cristol entered illegal Findings Of Fact And conclusions

     10   Of Law in Case No. 18-15825. M ore specifically FINDINGS OF FACT AND

     11   CONCLUSIONS OF LAW ON BRIAN AND ANDREA HOLLANDS MOTION FOR
     12
          SANCTIONS UNDER BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105.
     13
     14   72. The October 4, 2018 Findings Of Fact And Conclusions Of Law of Judge A. Jay Cristol
     15
          contains material misstatements such as Neusom lied to Colletti. This is untrue. Neusom may
     16
     17   have contacted Colletti to get information about the eviction such as the status of the lease to

     18   determine whether the personal Bankruptcy entitled Perez to a Stay. Colletti misunderstood and
     19
          didn’t realize not any Bankruptcy by Perez would entitle A Plus to a Stay. It depended on the
     20
          language in the Lease which Neusom did not have when he contacted Colletti and he was trying
     21
     22   to obtain it if it existed.
     23
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      1
          73. Nubia Perez is from Columbia and does not speak English well and was not good at keeping
      2
          records. When Neusom took the case he had to obtain company records, contracts and other
      3
      4   documents because Perez did not have them or was unable to get them to Neusom.

      5
      6   74. The hearings leading up to the entering of the Order were handled in a way that was
          fraudulent and violated the United States Constitution’s Equal Protection Clauses and the Due
      7   Process Clause. For instance, at the first sanction hearing on July 27, 2018 Judge Cristoll
      8   threatened to put Attormey Thomas Neusom in Federal Detention with no explanation or
          justification, among other things.
      9
     10   75. During a hearing on September 28, 2018 when Neusom was examining Joseph Colletti Judge

     11   Cristol interrupted numerous times and objected to the questions of Neusom in order to stop him
     12
          from obtaining testimony that was effectively showing that Holland had no case.
     13
          The illegal bias against Neusom was open and clear numerous times and violated the
     14
     15   Constitutional and civil rights of Neusom.
     16
     17
          76. The Motion For Sanctions filed by Russin was a Fraud as well as the Order granting it
     18
          because there is no law supporting it. The Order is a random act based on lies, misrepresentations
     19
          and material omissions. The ruling is the product of illegal bias and is racially discriminatory
     20
     21   against Neusom. The way in which the Court proceedings were held and the outcome violates

     22   Equal Protection Laws and Due Process.
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          77. The Equal Protection Clause is part of the Fourteenth Amendment to the United States
      1
          Constitution. The clause, which took effect in 1868, provides that no state shall deny to any
      2   person within its jurisdiction "the equal protection of the laws".
      3   A primary motivation for this clause was to validate the equality provisions contained in the
          Civil Rights Act of 1866, which guaranteed that all citizens would have the guaranteed right to
      4   equal protection by law. As a whole, the Fourteenth Amendment marked a large shift in
      5   American constitutionalism, by applying substantially more constitutional restrictions against the
          states than had applied before the Civil War.
      6
      7   78.The meaning of the Equal Protection Clause has been the subject of much debate, and
          inspired the well-known phrase "Equal Justice Under Law". This clause was the basis for Brown
      8   v. Board of Education (1954), the Supreme Court decision that helped to dismantle racial
      9   segregation, and also the basis for many other decisions rejecting discrimination against, and
          bigotry towards, people belonging to various groups.
     10   While the Equal Protection Clause itself applies only to state and local governments, the
     11   Supreme Court held in Bolling v. Sharpe (1954) that the Due Process Clause of the Fifth
          Amendment nonetheless imposes various equal protection requirements on the federal
     12   government.
     13
          79.By its terms, the clause restrains only state governments. However, the Fifth Amendment's
     14   due process guarantee, beginning with Bolling v. Sharpe (1954), has been interpreted as
          imposing some of the same restrictions on the federal government: "Though the Fifth
     15
          Amendment does not contain an equal protection clause, as does the Fourteenth Amendment
     16   which applies only to the States, the concepts of equal protection and due process are not
          mutually exclusive."[42] In Lawrence v. Texas (2003) the Supreme Court added: "Equality of
     17   treatment and the due process right to demand respect for conduct protected by the substantive
          guarantee of liberty are linked in important respects, and a decision on the latter point advances
     18   both interests" [43] Some scholars have argued that the Court's decision in Bolling should have
     19   been reached on other grounds. For example, Michael W. McConnell has written that Congress
          never "required that the schools of the District of Columbia be segregated."[44] According to that
     20   rationale, the segregation of schools in Washington D.C. was unauthorized and therefore illegal.

     21
          80.The Fifth and Fourteenth Amendments to the United States Constitution each contain a due
     22   process clause. Due process deals with the administration of justice and thus the due process
     23   clause acts as a safeguard from arbitrary denial of life, liberty, or property by the government
          outside the sanction of law.[1] The Supreme Court of the United States interprets the clauses more
     24   broadly, concluding that these clauses provide four protections: procedural due process (in civil
          and criminal proceedings), substantive due process, a prohibition against vague laws, and as the
     25   vehicle for the incorporation of the Bill of Rights.
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      1
          State actor
      2
          81. The prohibitions, generally, of the due process clauses apply only to the actions of state
      3   actors, and not against private citizens. However, where a private person is acting jointly with
      4   state officials in a prohibited action, they are said to be acting under the "color of the law" for the
          purposes of 42 U.S.C. § 1983.[20] While private actors are not generally held to the actions of
      5   private citizens, it remains that private citizens may be held criminally liable for a federal felony
          or misdemeanor, if they conspire with the government to commit actions which violate the due
      6
          process clauses of the constitution.[21][22]
      7
          Procedural due process
      8   82. Procedural due process requires government officials to follow fair procedures before
      9   depriving a person of life, liberty, or property.[23]:657 When the government seeks to deprive a
          person of one of those interests, procedural due process requires the government to afford the
     10   person, at minimum, notice, an opportunity to be heard, and a decision made by a neutral
          decisionmaker.
     11
     12
          83.This protection extends to all government proceedings that can result in an individual's
     13   deprivation, whether civil or criminal in nature, from parole violation hearings to administrative
          hearings regarding government benefits and entitlements to full-blown criminal trials. The article
     14
          "Some Kind of Hearing" written by Judge Henry Friendly created a list of basic due process
     15   rights "that remains highly influential, as to both content and relative priority".[24] These rights,
          which apply equally to civil due process and criminal due process, are:[24]
     16
     17     1. An unbiased tribunal.
            2. Notice of the proposed action and the grounds asserted for it.
     18     3. Opportunity to present reasons why the proposed action should not be taken.
            4. The right to present evidence, including the right to call witnesses.
     19
            5. The right to know opposing evidence.
     20     6. The right to cross-examine adverse witnesses.
            7. A decision based exclusively on the evidence presented.
     21     8. Opportunity to be represented by counsel.
     22     9. Requirement that the tribunal prepares a record of the evidence presented.
            10. Requirement that the tribunal prepares written findings of fact and reasons for its decision.
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      1
          Civil procedural due process
      2   84. Procedural due process is essentially based on the concept of "fundamental fairness". For
      3   example, in 1934, the United States Supreme Court held that due process is violated "if a
          practice or rule offends some principle of justice so rooted in the traditions and conscience of our
      4   people as to be ranked as fundamental".[25] As construed by the courts, it includes an individual's
          right to be adequately notified of charges or proceedings, the opportunity to be heard at these
      5
          proceedings, and that the person or panel making the final decision over the proceedings be
      6   impartial in regards to the matter before them.[26]
      7
          85.To put it more simply, where an individual is facing a deprivation of life, liberty, or property,
      8
          procedural due process mandates that he or she is entitled to adequate notice, a hearing, and a
      9   neutral judge.
     10
          86.The Supreme Court has formulated a balancing test to determine the rigor with which the
     11
          requirements of procedural due process should be applied to a particular deprivation, for the
     12   obvious reason that mandating such requirements in the most expansive way for even the most
          minor deprivations would bring the machinery of government to a halt. The Court set out the test
     13
          as follows: "[I]dentification of the specific dictates of due process generally requires
     14   consideration of three distinct factors: first, the private interest that will be affected by the
          official action; second, the risk of an erroneous deprivation of such interest through the
     15   procedures used, and the probable value, if any, of additional or substitute procedural safeguards;
     16   and, finally, the Government's interest, including the function involved and the fiscal and
          administrative burdens that the additional or substitute procedural requirement would entail."[27]
     17
     18   87. The requirement of a neutral judge has introduced a constitutional dimension to the question
     19   of whether a judge should recuse himself or herself from a case. Specifically, the Supreme Court
          has ruled that in certain circumstances, the due process clause of the Fourteenth Amendment
     20   requires a judge to recuse himself on account of a potential or actual conflict of interest. For
     21   example, in Caperton v. A. T. Massey Coal Co. (2009), the Court ruled that a justice of the
          Supreme Court of Appeals of West Virginia could not participate in a case involving a major
     22   donor to his election to that court.[28]
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          88. Today, the Court focuses on three types of rights under substantive due process in the
      3   Fourteenth Amendment,[citation needed] which originated in United States v. Carolene Products Co.,
          304 U.S. 144 (1938). Those three types of rights are:
      4
      5      the first eight amendments in the Bill of Rights (e.g., the Eighth Amendment);
             restrictions on the political process (e.g., the rights of voting, association, and free speech);
      6       and
             the rights of "discrete and insular minorities".
      7
      8
          89. Here, the Court has engaged in Unconstitutional acts to which Judicial immunity does not
      9   apply against Plaintiff, a minority person. Judge A. Jay Cristol threatened to put Attorney
          Thomas Neusom in federal detention for up to two weeks with no explanation or justification.
     10
          This is and always was a civil bankruptcy case, not a criminal case.
     11
     12   90. From there he acted in a biased manner and favored the other side by refusing to apply and
     13   comply with the applicable law.
     14
          91. The Judge acted in a racially discriminatory manner by not adhering to equal protection
     15
          principles and blaming a black man, Attorney Thomas Neusom, for the incompetence of
     16
          Attorney Joseph Colletti, who appears to be white.
     17
     18   92. If you read the Findings of Fact And Conclusions of Law adopted by the Court it is nothing
     19   but garbage and a fanciful complicated tale that obfuscates and hides the truth and attempts to

     20
          impose liability where there is none. It claims Neusom lied where there is no evidence of lying.
     21
          Colletti was just confused and that’s a fact. Neusom has no intention of allowing anyone to steal
     22   from him in violation of the law. A fraudulent show trial is not a trial if there is bias.
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          93. All of the facts of the Bankruptcy Case and the eviction were there for Jospeh Colletti to see.
      2
          Neusom is slandered and the victim of misrepresentation. Colletti was free to do what he wanted
      3   and he did what he chose to do. Colletti is an experienced Attorney who hasa been practicing
      4   over 20 years. An y suggestion that Neusom misled him is ludicrous, Colletti apparently just did
      5   not understand what he was doing and did not seek assistance until after made a mistake, which
          is a clear violation of the Florida Rules of Professional Responsibility.
      6
      7
          94.Judge Cristol then goes on to try to impose liability where none exists. Cristol admitted
      8   settlement negotiation testimony over objection and in violation of Federal Rule of Evidence 408
      9   and the testimony he allowed was filled with unverifiable untruths. He allowed hearsay of an
     10   alleged phone conversation for its truth and told Neusom something like, “It’s a matter of
          credibility. I believe him and not you. “ It was blatant, unequivocal bias, favoritism and racism
     11
          that was right in Neusom’s face. Equal Protection and Due Process were violated.
     12
     13   95. If the Findings Of Fact And Conclusions Of Law read like something out of an Episode of
     14   Amos And Andy it’s a reflection of what went on the Courtroom. It was like slapstick or
     15   Tomfoolery. I was made the subject of a minstrel type show where the black person loses in the
          end and is made to look silly, and in this case he illegally and Unconstitutionally gets stuck with
     16
          an over Thirty Thousand Dollar ($30,000) ruling for the acts of another’s incompetence and
     17
          mistake, Joseph Colletti. Bias and favoritism are clear. Neusom if the victim of Equal
     18   Protection and Due Process violations that can not be allowed to stand. It’s illegal and Neusom is
     19   suing.
     20
          96. Even if you believe the Court’s interpretation that Neusom told Colletti something and he
     21
          then acted foolishly, and changed his mind after seeking legal advice, there is no liability for
     22
          Neusom in this situation. There was and is no privity between Neusom and Colletti under these
     23   circumstances and facts. Colletti violated the rules of Professional Responsibility which follow,
     24   so it is wrong and illegal to try to make Neusom responsible and liable.
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          97. 4-1. CLIENT-LAWYER RELATIONSHIP RULE 4-1.1 COMPETENCE A lawyer
      2   must provide competent representation to a client. Competent representation requires the legal
          knowledge, skill, thoroughness, and preparation reasonably necessary for the representation.
      3   Comment Legal knowledge and skill In determining whether a lawyer employs the requisite
      4   knowledge and skill in a particular matter, relevant factors include the relative complexity and
          specialized nature of the matter, the lawyer’s general experience, the lawyer’s training and
      5   experience in the field in question, the preparation and study the lawyer is able to give the
          matter, and whether it is feasible to refer the matter to, or associate or consult with, a lawyer of
      6   established competence in the field in question. In many instances the required proficiency is
      7   that of a general practitioner. Expertise in a particular field of law may be required in some
          circumstances. A lawyer need not necessarily have special training or prior experience to handle
      8   legal problems of a type with which the lawyer is unfamiliar. A newly admitted lawyer can be as
          competent as a practitioner with long experience. Some important legal skills, such as the
      9   analysis of precedent, the evaluation of evidence and legal drafting, are required in all legal
          problems. Perhaps the most fundamental legal skill consists of determining what kind of legal
     10
          problems a situation may involve, a skill that necessarily transcends any particular specialized
     11   knowledge. A lawyer can provide adequate representation in a wholly novel field through
          necessary study. Competent representation can also be provided through the association of a
     12   lawyer of established competence in the field in question. Competent representation may also
          involve the association or retention of a non-lawyer advisor of established technological
     13   competence in the field in question. Competent representation also involves safeguarding
     14   confidential information relating to the representation, including, but not limited to, electronic
          transmissions and communications. In an emergency a lawyer may give advice or assistance in a
     15   matter in which the lawyer does not have the skill ordinarily required where referral to or
          consultation or association with another lawyer would be impractical. Even in an emergency,
     16   however, assistance should be limited to that reasonably necessary in the circumstances, for ill-
     17   considered action under emergency conditions can jeopardize the client’s interest. A lawyer may
          accept representation where the requisite level of competence can be achieved by reasonable
     18   preparation. This applies as well to a lawyer who is appointed as counsel for an unrepresented
          person. See also rule 4-6.2. Thoroughness and preparation Competent handling of a particular
     19   matter includes inquiry into and analysis of the factual and legal elements of the problem, and
          use of methods and procedures meeting the standards of competent practitioners. It also includes
     20
          adequate preparation. The required attention and preparation are determined in part by what is at
     21   stake; major litigation and complex transactions ordinarily require more extensive treatment than
          matters of lesser complexity and consequence. The lawyer should consult with the client about
     22   the degree of thoroughness and the level of preparation required as well as the estimated costs
          involved under the circumstances. Maintaining competence To maintain the requisite knowledge
     23   and skill, a lawyer should keep abreast of changes in the law and its practice, engage in
     24   continuing study and education, including an understanding of the benefits and risks associated
          with the use of technology, and comply with all continuing legal education requirements to
     25   which the lawyer is subject.
          Amended March 23, 2006, effective May 22, 2006 (SC04-2246), (933 So.2d 417); September
     26   29, 2016, effective January 1, 2017 (SC16-574), 200 So.3d 1225.
          RRTFB September 17, 2018
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          98. At one point Ikpe and Russin argue that even if there is no law or rule that imposes liability
      3   the Court has inherent authority to act even if there is no basis in the law for its actions, which is
      4   wholly untrue. The Court can not completely disregard the laws as it did hear. The way the
      5   Court acted is evidence of bias, racism and the Constitutional Rights of Neusom have been
          violated which entitles him to relief.
      6
      7
          99. The following remedy Judge Cristol put in is unfathomable and illegal and violates
      8   Neusom’s Constitutional rights.
      9
     10   100. ORDERED AND ADJUDGED that under Bankruptcy

     11   Rule 9011 and 11 U.S.C. § 105 is GRANTED IN PART as follows:
     12   1. Neusom is liable to Landlord in the total amount of $31,256, representing $2,000 in
     13   legal fees to Colletti; $20,000 to MRB for legal fees and $9,256.00 for lost rent. If not
          paid within thirty (30) days, Landlord may request the entry of a final judgment for the
     14   sanctions awarded herein.

     15   2. Neusom is ENJOINED from practicing bankruptcy in any bankruptcy court in the
          United States for a period of one (1) year from entry of this Order, after which Neusom
     16
          may apply for readmission to bankruptcy practice upon compliance with all the Local
     17   of the Court governing admission to practice and completing a total of eighteen
          (18) hours of Continuing Legal Education, consisting of twelve (12) hours of
     18
          Continuing Legal Education in bankruptcy law and six (6) hours of ethics.
     19
          101. One of the biggest issues Plaintiff has is that Colletti was the one who took the actions that
     20
          cost the landlord. He did not have to do it. If Colletti had not done it there would be no sanction.
     21
          What Coletti did was beyond Neusom’s control and he did not even know Coletti had done it.
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          102. Plaintiff did not know Colletti had acted incorrectly because he was not a litigant or retained
      3   as Counsel in the eviction case so he really could not do much about it. And Perez’s eviction
      4   Attorney told her office manager Kathy Ware that a bankruptcy would not violate any eviction
      5   case order and Ware told this to Neusom so Neusom believed neither a personal or business
          bankruptcy by Perez was a violation. It is clear that Neusom is the victim once sanctions were
      6
          granted by Judge A. Jay Cristol and his Constitutional rights have been violated.
      7
      8   103. Judge Boker was the eviction Judge over Landlords case. The Bankruptcy Judge is issuing
      9   sanctions for what happened in the eviction Court where no finding of a violation was made by
     10   the eviction Judge s an illegal usurptation of authority and disallowed co-judging. Holland
          needed to seek his sanction in the eviction court.
     11
     12
          104. Attorney Alex Borell was the eviction Counsel for our joint client, Nubia Perez, and he said
     13   that filing a bankruptcy was not a violation of the Rent Registry Order yet Cristol rules
     14   differently when it’s not even his eviction case and the eviction Judge issued no sanction when
     15   he entered the stay in his own case. This is clearly inconsistent, wrong and without legal basis
          yet Judge Cristol did it anyway. Plaintiff’s request for abstention was wrongfully denied.
     16
     17
          105.Judge Boker’s Rent Registry Order, Motion To Lift the Stay and Final Judgment are being
     18   filed concurrently herewith which proves everything Neusom has said is true. Cristol went far
     19   beyond the limits of reasonable judging and for that liability must lie. Particularly when you look
     20   at the sanction he leveled against Plaintiff and the sanction granted in similar cases.

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          106. The case law cited in Holland’s own motion gives guidance on what an appropriate
      3
      4   sanction is.

      5
          In Re Douglas, 141 B.R. 252 (Bankr. N.D. Ga. 1992)
      6
          United States Bankruptcy Court, N.D. Georgia
      7   Filed: March 20th, 1992
      8   Precedential Status: Precedential
          Citations: 141 B.R. 252
      9   Docket Number: Bankruptcy No. A91-64357-SWC
          Judges: Stacey W. Cotton
     10
     11   When granting sanctions in the Douglas case the court concluded by stating:

     12     “In its motion, California Federal seeks attorney's fees and expenses incurred in preparing and
                presenting the emergency motion to dismiss debtor's Chapter 13 case and its motion for
     13      sanctions. Bankruptcy Rule 9011 authorizes the court to impose ". . . an appropriate sanction,
              which may include an order to pay to the other party or parties the amount of the reasonable
     14
           expenses incurred because of the filing of the document, including a reasonable attorney's fee."
     15     Fed.R.Bankr.P. 9011. Sanctions may include the reasonable expenses of pursuing the Rule 11
            claim. Mike Ousley Prod. Inc., 952 F.2d at 383-84. Counsel for California Federal has filed an
     16    affidavit setting forth an itemization of the services rendered and expenses incurred in preparing
             the motions to dismiss and for sanctions. This affidavit states that California Federal incurred
     17    $1,630.25 in fees and expenses. Having examined the itemization of services and expenses, the
     18        court finds and concludes that the hourly rates charged are within the range of hourly rates
           charged by attorneys and paraprofessionals of comparable skill, experience and reputation. The
     19   services rendered were reasonable and necessary in the filing and prosecution of these motions in
          response to this abusive and improper serial bankruptcy filing. Accordingly, California Federal's
     20     motion for sanctions is granted. The court imposes sanctions upon debtor's counsel, Milton D.
     21     Jones, for California Federal'sattorney's fees and expenses in the sum of $1,630.25.” 141 B.R.
                                                        252 (1992)
     22
           In re Harold DOUGLAS, Debtor. CALIFORNIA FEDERAL BANK, FSB, Movant,
     23    v. Harold DOUGLAS, Respondent. Bankruptcy No. A91-64357-SWC. United States
           Bankruptcy Court, N.D. Georgia, Atlanta Division. March 20, 1992.
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      1   In Re Morgan, 85 B.R. 622 (Bankr. M.D. Fla. 1987)

      2   United States Bankruptcy Court, M.D. Florida
      3   Filed: October 26th, 1987
          Precedential Status: Precedential
      4   Citations: 85 B.R. 622
          Docket Number: Bankruptcy No. 87-4663
      5   Judges: Alexander L. Paskay
      6
          107. When granting sanctions in the Morgan case, the Court concluded by stating:
      7
      8
          “Clearly, it was not the intent of Congress to allow Debtors to file Chapter 7 Petitions for the
      9   singular purpose of delaying the inevitable conclusion of foreclosure. As it is admitted by the
          Debtor's counsel that the sole purpose for filing the Debtor's petition was to prevent and delay
     10   the foreclosure sale by C & S, this Court is satisfied that sanctions in the amount of $1,000.00
          should be imposed jointly and severally against the Debtor and her attorney, Michael Steinberg,
     11   to compensate for attorney fees incurred in connection with the aborted foreclosure sale.
     12   It should be noted, however, that the imposition of these sanctions should be conditioned upon
          the occurrence of a proposed sale of the property in dispute, as in the event the property is sold,
     13   C & S will receive compensation for attorney fees incurred by means of the sale proceeds.
     14   Accordingly, it is
     15   ORDERED, ADJUDGED AND DECREED that the Motion for Sanctions against Debtor and
          Debtor's Counsel be, and the same is hereby, granted, and Janet Morgan and Michael Steinberg
     16   are hereby directed to pay C & S $1,000.00 in the event the proposed sale of the Debtor's
          property does not occur. It is further
     17
          ORDERED, ADJUDGED AND DECREED that in the event the proposed sale does not occur, C
     18   & S may seek an Order by this Court directing Janet Morgan and Michael Steinberg to make
          payment in the amount of $1,000.00 as sanctions.”85 B.R. 622 (1987) In re Janet K. MORGAN,
     19
          Debtor. Bankruptcy No. 87-4663. United States Bankruptcy Court, M.D. Florida, Tampa
     20   Division. October 26, 1987.

     21
     22
     23   In Re McBride Estates, Ltd., 154 B.R. 339 (Bankr. N.D. Fla. 1993)

     24   United States Bankruptcy Court, N.D. Florida

     25   Filed: March 26th, 1993
          Precedential Status: Precedential
     26   Citations: 154 B.R. 339
          Docket Number: Bankruptcy No. 92-07497
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          Judges: Lewis M. Killian, Jr.
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      3   108. When granting sanctions in In Re Mcbride the Court concluded by stating:

      4
          “Based on the foregoing findings, we find that the filing of the Chapter 11 petition by McBride
      5   and its resistance to Barnett's motion for relief from the stay were done for an improper purpose,
      6   that is the unnecessary delay in the completion of the foreclosure sale by Barnett Bank, and that
          such petition and opposition were not well grounded in fact or warranted by existing law or good
      7   faith argument for the extension, modification, or reversal of existing law. B.R. 9011. The costs
          incurred by Barnett as a result of the actions of McBride Estates and its attorney in filing the
      8   petition for relief under Chapter 11 and resisting the motion for relief from stay are as follows:
      9   1) $1,440.88 publication costs for foreclosure sale.

     10   2) $190.00 paralegal expenses preparing for foreclosure sale.
     11
          3) $2,340.50 attorney's fees in connection with the motion for relief from stay.
     12
          *344 4) $60.00 filing fee for motion for relief from stay.
     13
          5) $500 attorney's fees in connection with the motion for sanctions.
     14
     15   Total $4,531.38.

     16   154 B.R. B339 (1993) In re McBRIDE ESTATES, LTD. Debtor. Bankruptcy No. 92-07497.
          United States Bankruptcy Court, N.D. Florida, Tallahassee Division. March 26, 1993.
     17
     18   The In In Re Mcbride the sanction was $2,840.00.
     19
          109 A review of the three of Holland’s own cited cases shows that an appropriate sanction ranges
     20
          from One Thousand Dollars ($1,000.00) to Two Thousand Eight Hundred Dollars Forty Dollars.
     21
          ($2,840.00). Neusom was sanctioned for over Thirty Thousand Dollars ($30,000.00), and the
     22   bulk of it was for things that took place in an eviction case that Cristol really doesn’t even have
     23   authority over due to the Colorado River and other Abstention Doctrines and the fact that State
     24   and Federal Court’s are separate and distinct. Neusom never filed a Notice of Appearance or
          filed anything in the eviction case he is being sanctioned for by Cristol. This is clearly
     25
          Unconstitutional and illegal.
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          110. Russin and Colletti are con men and they should not be believed. Even if believed, there is
      3   no legitimate basis to hold Plaintiff liable for another lawyers incompetence. It is
      4   critical that the suit against Judge A. Jay Cristol be allowed to go forward in his official capacity
      5   and personally so he can be deposed, discovery can be served on him and the real reason he is
          doing what he is doing can be discovered. His actions are illegal and Unconstitutional and a jury
      6
          trial is Demanded.
      7
      8
      9   WHETHER CONSCIOUS RACISM OR UNCONSCIOUS RACISM THE EFFECTS
          CAN BE DEVASTATING AND IF THE SANCTIONS ARE IMPOSED PLAINTIFF IS
     10   FILING A COMPLAINT WITH THE EEOC AND THE JUSTICE DEPARTMENT
     11
     12   110. Russin told Plaintiff he has been practicing Bankruptcy Law over thirty years so he is
          highly experienced and an effective advocate. But an effective advocate is not an excuse for
     13
          violation of the Equal Protection Clause and Due Process.
     14
     15   111.During a sanctions hearing Colletti stated he relied on what Plaintiff said as an Officer of the
     16   Court. But Colletti is an Officer of the Court as well and he had been involved with the eviction
     17   case possibly months before the eviction was filed. He had pertinent information Plaintiff did
          not have when Neusom called him. And Coletti took action and later changed his mind after he
     18
          obtained Russin as Co-Counsel. Sanctioning Neusom for Thirty Thousand Dollars ($30,000.00)
     19
          and not holding Colletti responsible for his own actions is unfair and racism in plaintiff’s
     20   opinion. There must be some way to hold Judge’s accountable just like everyone else is held
     21   accountable. The judge and jury is hopefully the way.
     22
          112. Plaintiffs seek damages against Judge A. Jay Cristol according to proof for Violation of
     23
          Equal Protection and Due Process
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                                        Request for Relief
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      2   113. The Court should grant damages to Plaintiff and enjoin Judge Cristol from entering

      3   Judgment against Neusom or reverse it if it is entered. If the Order can not be reversed
      4   Defendants should pay to Plaintiff any money needed to pay the Judgment that was wrongfully
      5
          obtained plus his attorney’s fees and costs and damages for violation of the law.
      6
      7   114. All EXHIBITS are concurrently filed and officially incorporated herewith into this
          Complaint. They are:
      8
      9   1.October 4, 2018 Judge A. Jay Cristol Findings Of Fact And Conclusions Of Law

     10   2.Eviction Judgment
     11   3.Eviction Complaint
     12
          4. Eviction Rent Registry Order
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                                          CONCLUSION
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      2   115. Holland’s motion for sanctions is without merit and the Order granting sanctions should

      3   have been Vacated. This lawsuit is necessary to obtain justice and it must be allowed to
      4   go forward because Plaintiff’s rights have been violated.
      5
      6
          116.Litigation is a process. If one files a lawsuit you don’t go to trial the next day, week, or even
      7
      8   month. There is time for motions, discovery, depositions., document production requests. All of

      9   the information is not always readily available and that is what happened in the bankruptcy case.

     10   Time and work was needed to get all of the bankruptcy case information.
     11
     12
          117. In the course of the case Colletti made a mistake, but it was not the fault of Plaintiff and
     13
          Plaintiff did not intentionally lie to Coletti. Colletti also had the information such as the lease
     14
     15   that should have let him know what to do. The Plaintiff Neusom is not responsible for Colletti

     16   and Holland and to claim he is is a violation of Equal Protection, and Due Process.
     17
     18
          118.If the law was equally applied Colletti would be responsible for Plaintiff if Plaintiff was
     19
          responsible for Coletti. By imposing this huge sanction, the Court is making Plaintiff a guarantor
     20
     21   of information with punishment for even innocent mistakes and that is not the law. There was no

     22   intentional lie and the mistake was Colletti’s. Judge A. Jay Cristol is violating Equal protection

     23   and Due Process by only making Plaintiff responsible and sanctioning him for Thirty Thousand
     24
          Dollars ($30,000.00) which is wrong and Unconstitutional.
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      2
      3   119. WHEREFORE, Plaintiffs pray that the Court:
      4      1. GRANT Judgment against all of the Defendant’s for Fraud;,
      5
             2. Grant Judgment against Judge A. Jay Cristol for Violation of the United States
      6
          Constitution’s Equal Protection and Due Process Clause.
      7
      8      3. Enter an order denying the sanctions Granted by Judge A. Jay Cristol in an Official
                Capacity.
      9
     10   Dated: October 29, 2018:

     11
     12                                                      By:/s/Thomas Neusom
                                                             Attorney For Plaintiffs
     13
                                                             Bar No. 003717
     14                                                      (954)200-3536
                                                             4737 N. Ocean Drive, #129
     15                                                      Fort Lauderdale, FL 33308
                                                             Email: tgnoffice35@gmail.com
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                    BRIAN H O L L A N D AND ANDREA                                     IN T H E COUNTY COURT IN A N D
                                                                         FOR
                    HOLLAND a/k/a/ BRIAN HOLLAND                               MIAMI-DADE COUNTY
                    5561 R E N T ACCOUNT.
                                                                               C I V I L DIVISION
                             Plaintiff.     ,. ,      .,.•.»   .......
                    vs.                                                                             . . .    ^^^^g
                                                                               18-8187 C C 0 5

                    A P L U S LAMINATION & FINISHING
                    INC., a Florida Corporation and all
                    other occupants.

                             Defendants.
                                                                     /

                                 O R D E R D I R E C T I N G DEPOSIT OF R E N T INTO R E G I S T R Y O F COURT

                             T H I S C A U S E C A M E ON T O B E H E A R D before me, on May 3, 2018, upon Plamtifrs
                    Motion for Order Directing Deposit of Rent Into Registry of Court, and, having appeared counsel for
                    Plaintiff and Defendant and the respective parties, A e r having heard argument ffom counsel, having
                    reviewed the Court file and being otherwise folly advised in the premises, it is:

                             O R D E R E D AND A D J U D G E D :

                             1. PlamtitTs Motion for Order Directing Deposit of Rent Into Registry of Court be and the same
                    IS hereby granted.

                            2. The Defendant, A P L U S LAMINATION & FINISHING, INC.. is hereby ordered to deposit the
.-^^^               sum of $9,000,00 into the Miami-Dade County Ifogistrv of Court on or before May 7. 2018.

                            3. The Defendant, A P L U S LAMINATION & FINISHING, INC., is hereby ordered to deposit the
                    sum of $9,000.00 into the Miami-Dade County Registry of Court on or before May 14. 2018,

                             .3 The Defendant shall further timely deposit the rem as it becomes due into the Registry of
                    Court,

                             4 The Defendant's failure to timely pay the ordered sums into the Registry of Court shall
                    constitute and absolute waiver of its defenses, other than payment or proof of payment and Plaintiff shall
                    be entitled to a Dctault/Dcfault Final judgment for Removal of Tenant and a Writ of Possession to issue
                    forthwith without the necessity of fortlicr hearing pursuant to Section 83,232, Florida St^utcs.

                           5, Upon Defendant making timely deposit into the Registr% of Court of the sums due on Ma\.
                    2018 and May 14. 2018. the parties shall appear for mediation on May 15. 2018 at 1:30 PM.

                             DONE AND ORDERED in Chambers at Miami-Dade County, Florida, on 05/10/18.




                                                                 ALEXANDER S. BOKOR
                                                                 COUNTY COURT JUDGE

                    The parties served with this Order are indicated in the accompanying U t h Circuit email
                    confirmation which includes all emails provided by the submitter. The movant shall




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             IMMEDIATELY serve a true and correct copy of this Order, by mail, fecsimile, email or
             hand-delivery, to all parties/counsel of record for whom service is not indicated by the
             accompanying 11th Circuit confirmation, and file proof of service with the Clerk of Court.

             Signed original order sent electronically to the Clerk of Courts for filing in the Court file.
             Conformed copies to:                                   ^     . ^,   ^^   ,

             JOSEPH R. C O L L E T T I . P A
             Anomcx for PlaimifT

             A L E X A N D E R E B O R E L L . ESQ
             Attomcv for Defendant                              <




                                                     X   , 0-       t*^




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                                                                                1 of 82
IN T H E COUNTY COURT IN A N D F O R
MIAMI-DADE COUNTY, FLORIDA

C I V I L D I V I S I O N «, , o n   „ /. ,            < ^
C A S E N O : ! ^ -^[^H            -^^                 ^

BRIAN HOLLAND AND ANDREA
H O L L A N D aA/a B R I A N H O L L A N D
5561 R E N T A C C O U N T

          Plaintiff,                                                                                                                               E?          r,,^
vs.                                                                                                                                                                    I?
APLUS LAMINATION & FINISHING, INC.                                                                                                          V- j J - Z
and all other occupants,                                                                                                                        '• ' • 7               -n
          Defendants.

                                                                   '                                                                                               i   CD

                                                     D E F A U L T F I N A L J U D G M E N T F O R R E M O V A L O F T E N A N T•                   -         *
                                                                                                                                                              Px        s
                       T H I S C A U S E C A M E O N T O B E H E A R D before me upon Plaintiffs Complaint for Removal o f Tenant,

          it is:

                       ORDERED AND ADJUDGED:

                                     1. That a Default Final Judgment be and the same is hereby entered in favor of Plaintiff, B R I A N

          H O L L A N D A N D A N D R E A H O L L A N D aAc/a B R I A N H O L L A N D 5561 R E N T A C C O U N T ,                                  and against the

          Defendant, A P L U S            L A M I N A T I O N & F I N I S H I N G , I N C . , a Florida Corporation, for possession o f the premises

          located at 5559 N W 3 6 * Avenue, M i a m i , Miami-Dade County, Florida 33142, for which let Writ o f Possession

          issue forthwith.

                       2.   7 T - . « ri|n;,^>;fyr           *""       ; J i i. r. ...i . n i   J.MLIL.   i   i-   u,» fjn^nn ^ f ^ ^ ^ ^ ^ ^              for which let



            D O N E A N D O R D E R E D at M i a m i , Miami-Dade County, Florida dpg-~-v                              day o f July, 20^8|.^^jp.j^                     DATED




Copies furnished to:

JOSEPH R. C O L L E T T I , P.A.
Attorney for Plaintiff
4770 Biscayne Boulevard, Suite 1400
Miami, Florida 3313


ALEXANDER E. BORELL,
Attorney for Defendant
324 Datura Street
Suite 209
West Palm Beach, F L 33401
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                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15825-AJC
Nubia Marcella Perez                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: snipesj                      Page 1 of 1                          Date Rcvd: Oct 05, 2018
                                      Form ID: pdf004                    Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 07, 2018.
db             +Nubia Marcella Perez,   5559 NW 36 Ave,   Miami, FL 33142-2709
               +Florida Bar,   651 E Jefferson St,   Tallahassee, FL 32399-2300
               +Honorable Alexander Bokor,   County Court Judge,   73 West Flagler St,   Miami, FL 33130-1731

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 07, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 5, 2018 at the address(es) listed below:
              Howard S Toland    on behalf of Creditor   Valley National Bank htoland@mitrani.com
              Howard S Toland    on behalf of Creditor   Newtek Small Business Finance Inc htoland@mitrani.com
              Johanna Armengol     on behalf of U.S. Trustee   Office of the US Trustee
               Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov
              Nathalie C. Rodriguez    on behalf of Creditor   Nationstar Mortgage LLC nrodriguez@rasflaw.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Peter D. Russin, Esq    on behalf of Creditor Andrea Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Peter D. Russin, Esq    on behalf of Creditor Brian Holland prussin@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannenbaum@ecf.courtdr
               ive.com;phornia@ecf.courtdrive.com
              Thomas G Neusom    on behalf of Debtor Nubia Marcella Perez tgnoffice35@gmail.com
              Utibe I Ikpe    on behalf of Creditor Brian Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
              Utibe I Ikpe    on behalf of Creditor Andrea Holland uikpe@melandrussin.com,
               ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
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           ORDERED in the Southern District of Florida on October 4, 2018.




                                                               A. Jay Cristol, Judge
                                                               United States Bankruptcy Court
_____________________________________________________________________________




                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA

          In re:                                                    Case No.: 18-15825-AJC
          NUBIA MARCELLA PEREZ,                                     Chapter 11

                      Debtors.
          ____________________________________/

                    FINDINGS OF FACT AND CONCLUSIONS OF LAW ON BRIAN AND
                        $1'5($+2//$1'¶6027ION FOR SANCTIONS UNDER
                             BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105

                   THIS MATTER came before the Court for an evidentiary hearing on September 28, 2018

          upon Creditors, Brian Holland and Andrea Holland¶V ³Landlord´ 0RWLRQIRU6DQFWLRQVXQGHU

          Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF No. 25].

                                                INTRODUCTION

                   On May 30, 2018, Landlord filed a Motion for Sanctions under Bankruptcy Rule 9011 and

          11 U.S.C. § 105 DJDLQVW 'HEWRU 1XELD 0DUFHOOD 3HUH] ³Debtor´  DQG KHU FRXQVHO 7KRPDV




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      1HXVRP ³Neusom´)1 alleging that Debtor and Neusom filed a bankruptcy petition in bad faith for

      the sole purpose of staying a state court eviction action brought by Landlord against A Plus

      Lamination and Finishing, Inc. At trial, the Landlord presented no evidence regarding actions

      WDNHQE\WKH'HEWRUEXWLWGLGSUHVHQWHYLGHQFHWKDW'HEWRU¶VDWWRUQH\1HXVRPIDOVHO\DGYLVHG

      /DQGORUG¶VPDQDJHUDQG/DQGORUG¶VVWDWHFRXUWDWWRUQH\WKDW he had filed a bankruptcy petition on

      behalf of A Plus Lamination and Finishing, Inc., the defendant in the Florida county court eviction

      action. 7KH&RXUWKDYLQJFRQVLGHUHGWKHGRFXPHQWDU\HYLGHQFHZLWQHVVWHVWLPRQ\DQGFRXQVHO¶V

      arguments, enters its findings of fact and conclusions of law as follows:

                                           FINDINGS OF FACT

             1.      Debtor is an individual, and a principal and (apparently) the sole owner of A Plus

      Lamination and Finishing, Inc. Ex. 19.2

             2.      A Plus Lamination and Finishing, Inc. is an active Florida Corporation, which

      entered a one-\HDUFRPPHUFLDOOHDVH ³Lease´ ZLWK/DQGORUGWRUHQWSURSHUW\ORFDWHGDW1:

      WK$YHQXH0LDPL)ORULGD ³Property´  Ex. 21.

             3.      7KH /HDVH¶V RQH-year term ran from August 1, 2017 to July 31, 2018. A Plus

      Lamination and Finishing, Inc. agreed to pay $8,666.67 in monthly rent plus sales tax and fees to

      lease the Property. Id.

             4.      A Plus Lamination and Finishing, Inc. defaulted on the Lease by failing to make

      the March 1, 2018 rent payment and subsequent payments. Ex. 1.




      1
             NeusRP¶VFlorida Bar number is 37148.
      2
             All referenced exhibits were admitted into evidence during the evidentiary hearing.
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             5.       On April 13, 2018, Landlord initiated an eviction action against A Plus Lamination

      and Finishing, Inc. in the County Court in and for Miami-Dade County, Case No. 2018-008187-

      CC- ³Eviction Action´ 

             6.      On May 10, 2018, Judge Alexander Bokor ordered A Plus Lamination and

      Finishing, Inc. WRGHSRVLWUHQWLQWRWKHFRXUWUHJLVWU\ ³Deposit Order´  Ex. 6.

             7.      The Deposit Order required A Plus Lamination and Finishing, Inc. (1) to deposit

      $9,000 by May 7, 2018; (2) to deposit $9,000 by May 14, 2018; and (3) to make timely deposits

      as additional rent became due. Under the Deposit Order, A Plus Lamination and Finishing, Inc.¶V

      failure to make timely deposits would FRQVWLWXWH³an absolute waiver of its defenses, other than

      payment or proof of payment, and [Landlord] shall be entitled to a Default/Default Final Judgment

      for Removal of A Plus Lamination and Finishing, Inc. and Writ of Possession to issue forthwith

      ZLWKRXWWKHQHFHVVLW\RIIXUWKHUKHDULQJSXUVXDQWWR6HFWLRQ)ORULGD6WDWXWHV´

             8.      Landlord and A Plus Lamination and Finishing, Inc. were also ordered to attend

      mediation on May 15, 2018 at 1:30 pm. Id.

             9.      A Plus Lamination and Finishing, Inc. failed to deposit into the court registry the

      $9,000 due on May 14, 2018, resulting in a waiver of defenses and entitling Landlord to immediate

      default final judgment and a writ of possession.

             10.      Neusom filed an Individual Chapter 11 bankruptcy petition (³3HWLWLRQ´ ZLWKWKLV

      Court on behalf of Nubia Perez on May 15, 2018, the day after A Plus Lamination and Finishing,

      Inc. failed to make the deposit required by the state court Deposit Order. D.E. 1. Neusom executed

      the Petition on page eleven as counsel for Nubia Perez. Id.

             11.     On page 2 of the Petition, Neusom alleged that Nubia Perez is a small business

      debtor that does business under the name ³A Plus Lamination and Finishing, Inc.´7KLVLVIDOVH



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      A Plus Lamination and Finishing, Inc., the tenant in the eviction action, is a duly registered Florida

      corporation. ,WLVQRWDWUDGHQDPHRUD³GRLQJEXVLQHVVDV´QDPHNo evidence was presented that

      would establish A Plus Lamination and Finishing, Inc. is registered as a fictitious name for Nubia

      Perez.3

                12.   Despite the fact that A Plus Lamination and Finishing, Inc. was not in bankruptcy,

      and just hours before the mediation was scheduled to proceed on May 15, 2018, Neusom called

      Desiree Lindsay ³Lindsay´ /DQGORUG¶VHPSOR\HH, and Joseph Colletti ³Colletti´ , /DQGORUG¶V

      Eviction Action counsel and advised them both that he filed a bankruptcy petition on behalf of A

      Plus Lamination and Finishing, Inc.

                13.   Neusom left a voice message for Lindsay advising her that he filed the Petition for

      A Plus Lamination and Finishing, Inc. Neusom also had two phone conversations with Colletti on

      May 15, 2018 where Neusom advised Colletti of A Plus Lamination and Finishing, Inc.¶V

      EDQNUXSWF\ILOLQJDQG1HXVRP¶VLQWHQWWRIile a suggestion of bankruptcy in the Eviction Action.

      He also asked Colletti for the Eviction Action case number on the second phone call.

                14.   Colletti having been orally advised by Attorney Neusom that A Plus Lamination

      and Finishing, Inc. filed a bankruptcy petition, he immediately filed a Notice of Cancellation of

      Mediation, stating, ³'HIHQGDQWKDVILOHGDSHWLWLRQIRUUHOLHIZLWKWKHEDQNUXSWF\FRXUW´([

                15.   Colletti¶VWHVWLPRQ\ZDVforthcoming, straight-forward, and credible. Colletti took

      contemporaneous handwritten notes during his conversations with Neusom. Ex. 25.




      3
             Neusom filed additional pleadings in this case where he styled the bankruptcy case with
      'HEWRU¶VQDPHDV³Nubia Marcella Perez DBA A Plus Lamination´7KLV&RXUWbelieves that
      Neusom intended to give the impression that A Plus Lamination and Finishing, Inc. was in
      bankruptcy. See D.E.s 19, 38, 39 and 50.
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               16.   On May 15, 2018, the state court entered an Order of Bankruptcy Stay and Closing

      Case. See Ex. 7.

               17.   During the June 20, 2018, 341 meeting of creditors, Neusom and the Debtor

      admitted that her bankruptcy petition was filed to stop the Eviction Action, an indicia of bad faith

      under Phoenix Piccadilly standards, In re Phoenix Piccadilly, Ltd., 849 F.2d 1393 (11th Cir.1988):




      Ex.18.




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      Ex. 18 at 10:6-15.

             18.     On June 28, 2018, this Court dismissed this case with prejudice, granting (1)

      /DQGORUG¶VMotion to Dismiss the Chapter 11 Bankruptcy Petition for Bad Faith and Fraud on the

      Court and for Relief from the Automatic Stay [D.E. 24], (2) 8QLWHG6WDWHV7UXVWHH¶V0RWLRQWR

      Dismiss or Convert the Case [D.E. 46], and 'HEWRU¶V0RWLon to Dismiss Bankruptcy [D.E. 49].

      D.E. 52.

             19.     On July 2, 2018, with no erroneously alleged automatic stay in place, Landlord filed

      a Motion for Entry of Default Final Judgment in the Eviction Action, and the state court issued a

      Writ of Possession on July 31, 2018. Exs. 11 and 17.

             20.     Although Landlord obtained a writ of possession on July 31, 2018, A Plus

      Lamination and Finishing, Inc. did not vacate the premises until August 22, 2018.

             21.     Lindsay testified that Landlord had a tenant who wished to rent the Property on

      August 1, 2018, but because A Plus Lamination and Finishing, Inc. was still in the Property, the

      new tenant could not take possession. Landlord was forced to postpone the lease with the new

      tenant by one month, with the new lease commencing September 1, 2018. Ex. 24. Consequently,

      Landlord lost one month of rent under the new lease at $9,256.00.

             22.     As a result RI'HEWRUDQG1HXVRP¶VILOLQJRIWKH3HWLWLRQDQG1HXVRP¶VIUDXGXOHQW

      representations of an alleged stay of the Eviction Action, Landlord hired the law firm of Meland

      Russin and Budwick3$ ³MRB´ to represent it in the bankruptcy case and MRB has incurred

      $40,768.33 in legal fees. Ex. 22.

             23.     05%¶V IHHV LQFOXGH DPRQJ other things, time for attending a 341 meeting of

      creditors; researching and drafting a Motion to Dismiss the Bankruptcy Petition for Bad Faith and

      Fraud on the Court; researching and drafting a Motion for Sanctions against Debtor and Neusom;


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      preparing for and attending a hearing on the Motion to Dismiss; preparing for and attending

      multiple hearings related to the Motion for Sanctions, which was continued twice at the request of

      Attorney Neusom; witness and exhibit preparation; numerous communications with Neusom,

      including settlement discussions and the preparation of an unexecuted settlement agreement. MRB

      also attended the three and one half hour evidentiary hearing on the Motion for Sanctions on

      Friday, September 28, 2018.

             24.        Colletti testified that he, too, filed additional motions and attended additional

      hearings in the Eviction Action that would not have been necessary had Neusom not

      misrepresented a bankruptcy stay was in effect. Colletti advised the state court of the dismissal of

      this case and resumed the Eviction Action. Ex. 14. Landlord paid Colletti an additional $2,000 in

      DWWRUQH\¶VIHHVto complete the eviction and obtain the writ of possession, which had been delayed

      E\1HXVRP¶VIDOVHVWDWHPHQWV.

             25.        Neusom argued that Colletti should have independently researched whether the

      Petition was properly filed in the name of A Plus Lamination and Finishing, Inc., rather than rely

      RQ1HXVRP¶VUHSUHVHQWDWLRQVWKDW$3OXV/DPLQDWLRQ and Finishing, Inc. filed bankruptcy.

             26.        Landlord presented the testimony of two credible witnesses, both of whom testified

      that Neusom told them he filed a bankruptcy petition on behalf of A Plus Lamination and

      Finishing, Inc.

             27.        Respondent rested without testifying or presenting any witnesses.

                                           CONCLUSIONS OF LAW

             Landlord seeks sanctions against Debtor and Neusom under Bankruptcy Rule 9011 and 11

      U.S.C. § 105. Bankruptcy Rule 9011 states:




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                     By presenting to the court (whether by signing, filing, submitting, or later
                     advocating) a petition, pleading, written motion, or other paper, an attorney
                     or unrepresented party is certifying that to the best of the person's
                     knowledge, information, and belief, formed after an inquiry reasonable
                     under the circumstances,

                     (1)     it is not being presented for any improper purpose, such as to
                      harass or to cause unnecessary delay or needless increase in the cost of
                      litigation;


      (emphasis added). A sanction under this rule should deter repetition of misconduct. Sanctions may

      include non-monetary directives, as well as reimbursement of DWWRUQH\¶VIHHV and other expenses.

             7KH&RXUWILQGV1HXVRP¶Vargument, that Colletti had a duty to investigate the validity of

      1HXVRP¶V lie about A Plus Lamination and Finishing, Inc. filing for bankruptcy relief, to be

      misguided, disingenuous, and at odds with the unambiguous language of Rule 9011. Under Rule

      9011, Neusom has the responsibility to sign and file a petition after reasonable inquiry and not for

      an improper purpose or to cause unnecessary delay. By filing the Petition, Neusom certified that

      he conducted a reasonable inquiry, and the Petition was not being brought for an improper purpose

      or to cause unnecessary delay. The Court and other members of the Bar should be able to rely on

      the representations of other licensed attorneys.

             ³The purpose of the automatic stay is to give the debtor breathing room. The automatic

      stay is not to be used as an abusivHOLWLJDWLRQWDFWLF´ In re Smith, 257 B.R. 344, 351 (Bankr. N.D.

      $OD  ³7KHSHWLWLRQLV H[FOXGHGIURPWKHVDIHKDUERUSURYLVLRQ RI 5XOHEHFDXVHLWV

      ILOLQJKDVLPPHGLDWHVHULRXVFRQVHTXHQFHV´  In this case, however, the Debtor and Neusom used

      the Petition as an abusive litigation tactic. As the testimony at the 341 meeting reveals, and the

      testimonial and documentary evidence from trial indicates, Neusom filed the individual Petition

      on behalf of the Debtor, and included A Plus Lamination and Finishing, Inc. for the improper

      purpose of misleading the state court eviction counsel and the state court judge into staying the

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Case 1:18-cv-24517-RNS
Case 1:18-cv-24463-FAM   Document
                         Document 7-1
               Case 18-15825-AJC   Doc Entered
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      Eviction Action. 1HXVRPPLVUHSUHVHQWHG'HEWRU¶VLGHQWLW\LQKHr Petition by alleging that Nubia

      Perez was doing business as A Plus Lamination and Finishing, Inc., when A Plus Lamination and

      Finishing, Inc. is actually a registered Florida corporation.

             Neusom¶V misrepresentation to Colletti [that A Plus Lamination and Finishing, Inc. was in

      bankruptcy when it was not] resulted in the cancellation of the May 15, 2018 mediation, and

      generated the entry of an Order implementing a non-existent automatic stay and withholding

      issuance of a writ of possession to which Landlord was entitled as of May 15, 2018. The timing

      of the filing of the Petition and the admissions at the 341 meeting indicate that Neusom filed the

      Nubia Perez Petition for the improper purpose of delaying the Eviction Action, which

      unnecessarily increased the cost of litigation. However, the evidence is not clear that Nubia Perez

      understood what Neusom was doing, and there was no evidence that Nubia Perez told any lie that

      FRQWULEXWHGWRWKH/DQGORUG¶VFRXQVHORUWKHVWDWHFRXUWMXGJHEHLQJPLVOHG:KLOHNeusom knew

      or should have known that filing the Petition as a delay tactic was improper, the same cannot be

      said for the Debtor.

             The Court has the inherent power to sanction bad faith conduct under 11 U.S.C. § 105. In

      re IAMEC Funding, Inc., 236 B.R. 490, 491 (Bankr. M.D. Fla. 1999). The bad-faith filing of a

      bankruptcy petition is sanctionable under 11 U.S.C. § 105. In re Hidalgo, 96 B.R. 389, 390 (Bankr.

      S.D. Fla. 1988). Even more serious is lying to opposing counsel in an effort to mislead him, and

      ultimately the Court. 1HXVRP¶VOLHV caused the Landlord to incur legal fees in the alleged amount

      of $40,768.33 to MRB and $2,000 to Colletti. Landlord also lost $9,256.00 in rent for the month

      A Plus Lamination and Finishing, Inc. held over possession of the Property. In total, Landlord

      claims it lost $52,024.33 because of Neusom¶V misconduct. The Court finds that not all the

      requested fees are compensable.



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             Based on the record and evidence admitted at the evidentiary hearing, the Court concludes

      that Attorney Thomas Neusom (Florida Bar number 37148) engaged in sanctionable, bad-faith

      conduct by (1) filing the Individual Chapter 11 Petition for the purpose of stopping the Eviction

      Action against a registered Florida corporation; and  PLVUHSUHVHQWLQJ'HEWRU¶VLGHQWLWy in the

      Petition to cause confusion. Neusom wrongfully obtained the benefit of the automatic stay for a

      non-debtor by misrepresenting to Lindsay and Colletti that A Plus Lamination and Finishing, Inc.

      was in bankruptcy, thereby obtaining the cancellation of the May 15, 2018 mediation and

      postponement of the issuance of the writ of possession.

             Ironically, if Neusom had filed a bankruptcy petition on behalf of the corporation, he would

      have obtained a stay without having to lie. If Neusom filed a petition on behalf of A Plus

      Lamination and Finishing, Inc., the information he provided to Lindsay and Colletti would have

      been true and he would have achieved the same results that were produced in this case by lies. The

      Court is reminded of the old U.S. 0DULQH&RUSDGDJH³QHYHUDWWULEXWHWRPDOLFHWKDWZKLFKFDQEH

      H[SODLQHGE\VWXSLGLW\´It is therefore

             ORDERED AND ADJUDGED that LDQGORUG¶V0RWLRQIRU6DQFWLRQV under Bankruptcy

      Rule 9011 and 11 U.S.C. § 105 is GRANTED IN PART as follows:

             1. Neusom is liable to Landlord in the total amount of $31,256, representing $2,000 in

                 legal fees to Colletti; $20,000 to MRB for legal fees and $9,256.00 for lost rent. If not

                 paid within thirty (30) days, Landlord may request the entry of a final judgment for the

                 sanctions awarded herein.

             2. Neusom is ENJOINED from practicing bankruptcy in any bankruptcy court in the

                 United States for a period of one (1) year from entry of this Order, after which Neusom

                 may apply for readmission to bankruptcy practice upon compliance with all the Local



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                  Rules of the Court governing admission to practice and completing a total of eighteen

                  (18) hours of Continuing Legal Education, consisting of twelve (12) hours of

                  Continuing Legal Education in bankruptcy law and six (6) hours of ethics.

              3. The Clerk of Court is directed to forward certified copies of this Order to The Florida

                  Bar at 651 E. Jefferson Street, Tallahassee, Florida, 32399 and to the Honorable

                  Alexander Bokor, County Court Judge, at Dade County Courthouse. 73 West Flagler

                  Street, Miami, FL 33130

                                                       ###


      Copies furnished by Clerk of Court to:

      Debtor
      Thomas Neusom, Esq.
      Utibe Ikpe, Esq.

      Utibe I. Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
      Certificate of Service.




                                                         11
 Case
  Case1:18-cv-24463-FAM
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                          Document7-1
                Case 18-15825-AJC  1-4 Entered
                                   Doc 96-3
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IN T H E COUNTY COURT IN A N D F O R
MIAMI-DADE COUNTY, FLORIDA

C I V I L D I V I S I O N «, , o n   „ /. ,            < ^
C A S E N O : ! ^ -^[^H            -^^                 ^

BRIAN HOLLAND AND ANDREA
H O L L A N D aA/a B R I A N H O L L A N D
5561 R E N T A C C O U N T

          Plaintiff,                                                                                                                               E?          r,,^
vs.                                                                                                                                                                    I?
APLUS LAMINATION & FINISHING, INC.                                                                                                          V- j J - Z
and all other occupants,                                                                                                                        '• ' • 7               -n
          Defendants.

                                                                   '                                                                                               i   CD

                                                     D E F A U L T F I N A L J U D G M E N T F O R R E M O V A L O F T E N A N T•                   -         *
                                                                                                                                                              Px        s
                       T H I S C A U S E C A M E O N T O B E H E A R D before me upon Plaintiffs Complaint for Removal o f Tenant,

          it is:

                       ORDERED AND ADJUDGED:

                                     1. That a Default Final Judgment be and the same is hereby entered in favor of Plaintiff, B R I A N

          H O L L A N D A N D A N D R E A H O L L A N D aAc/a B R I A N H O L L A N D 5561 R E N T A C C O U N T ,                                  and against the

          Defendant, A P L U S            L A M I N A T I O N & F I N I S H I N G , I N C . , a Florida Corporation, for possession o f the premises

          located at 5559 N W 3 6 * Avenue, M i a m i , Miami-Dade County, Florida 33142, for which let Writ o f Possession

          issue forthwith.

                       2.   7 T - . « ri|n;,^>;fyr           *""       ; J i i. r. ...i . n i   J.MLIL.   i   i-   u,» fjn^nn ^ f ^ ^ ^ ^ ^ ^              for which let



            D O N E A N D O R D E R E D at M i a m i , Miami-Dade County, Florida dpg-~-v                              day o f July, 20^8|.^^jp.j^                     DATED




Copies furnished to:

JOSEPH R. C O L L E T T I , P.A.
Attorney for Plaintiff
4770 Biscayne Boulevard, Suite 1400
Miami, Florida 3313


ALEXANDER E. BORELL,
Attorney for Defendant
324 Datura Street
Suite 209
West Palm Beach, F L 33401
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           ORDERED in the Southern District of Florida on October 31, 2018.




                                                                   A. Jay Cristol, Judge
                                                                   United States Bankruptcy Court
_____________________________________________________________________________




                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA

          In re:                                                 Case No. 18-15825-BKC-AJC

          NUBIA PEREZ,

                Debtors.
          __________________________________/

                         ORDER DENYING MOTION FOR STAY PENDING APPEAL

                   THIS MATTER came before the Court upon Attorney Thomas Neusom’s Request for Stay

          During Pendency of the Appeal (ECF 112). The motion does not set forth the requisite grounds

          entitling movant to a stay. The movant has not demonstrated a likelihood of success on appeal. The

          Court is not persuaded that movant will suffer irreparable damage if a stay is not issued, while the

          opposing party will suffer no harm if the stay is issued. Lastly, the Court believes there is no public

          interest implicated by the granting or denial of a stay in this case. Accordingly, it is

                   ORDERED AND ADJUDGED that Attorney Thomas Neusom’s Request for Stay During




                                                                                                 Exhibit D
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   Pendency of the Appeal (ECF 112) is DENIED.

                                             ###

   Copies furnished to:

   Thomas Neusom, Esq.
   Peter Russin, Esq.
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        1

        2        IN THE BANKRUTCY APPELLATE COURT OF THE SOUTHERN DISTRICT OF
                                          FLORIDA
         3
        4
              DEBTOR
         5
                                                              APPELLATE CASE NO.
         6    NUJBIA MAR ELLA PEREZ.
                                                              18-CV-24463-FAM
         7
                                                              Bankruptcy Court
         8
                                                              CASE NO: 18-15825
         9

        10
                                                              ATTORNEY THOMAS NEUSOM'S
        11                                                    EMERGENCY MOTION FOR STAY
                                                              DURING PENDENCY OF THE APPEAL
        12                                                    TO THE BANKRUPTCY APPELLATE
                                                              PANEL
        13
        14
        15
                                                              HEARING:
        16                                                    DATE
        17                                                    TIME
                                                              PLACE
        18

        19   MOTION FOR STAY DURING PENDENCY OF THE APPEAL TO THE
             BANKRUPTCY APPELLAT.t PANEL
        20
        21

        22      1. COMES NOW, Attomy,y Thomas Neuom requesting that the Bankruptcy Appellate
        23   Panel Cristal grant a stay of a~r furlher proceedings in the Bankruptcy Court in Case No. 18-
        24   15825 during !he pendency ofth1 Aµpeal with Case No. 18-CV-24463-FAM.
        25
        26

        27
                                                          1
        28

                                                                                       Exhibit E
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        1
        2   2.The relevant part of Bankruptcy Rule of 8007 states:

        3
            3.
        4
                        Rule 8007. Stay Pending Appeal; Bonds;
        5
                              Suspension of Proceedings
        6   (a) Initial Motion in the Bankruptcy Court.
        7          (1) In General. Ordinarily, a party must move first in the bankruptcy court for
                 the following relief:
        8
                     (A) a stay of a judgment, order, or decree of the bankruptcy court pending
        9          appeal;
       10            (B) the approval of a supersedeas bond;

       11            (C) an order suspending, modifying, restoring, or granting an injunction while
                   an appeal is pending; or
       12
                     (D) the suspension or continuation of proceedings in a case or other relief
       13          permitted by subdivision (e).

       14
       15          (2) Time to File. The motion may be made either before or after the notice of
                 appeal is filed.
       16
       17
            (b) Motion in the District Court, the BAP, or the Court of Appeals on Direct Appeal.
       18
                    (1) Request for Relief. A motion for the relief specified in subdivision (a)(1)-or
       19        to vacate or modify a bankruptcy court's order granting such relief-may be made
                 in the court where the appeal is pending.
       20          (2) Showing or Statement Required. The motion must:
       21            (A) show that moving first in the bankruptcy court would be impracticable; or
       22            (B) if a motion was made in the bankruptcy court, either state that the court
                   has not yet ruled on the motion, or state that the court has ruled and set out
       23          any reasons given for the ruling.
       24
       25          (3) Additional Content. The motion must also include:
       26            (A) the reasons for granting the relief requested and the facts relied upon;

       27
                                                            2
       28
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                       (B) affida vits or other sworn statem ents suppo rting facts
           1                                                                        subje ct to disput e;
                     and
           2           (C) releva nt parts of the record .
           3
          4          (4) Servin g Notice . The mova nt must give reaso nable notice
                                                                                    of the motio n to all
                   partie s.
          5

          6     (e) Contin uation of Proceedings in the Bankr uptcy Court.
                                                                                Despi te Rule 7062 and
                subje ct to the autho rity of the distric t court, BAP, or court
          7                                                                      of appea ls, the
                bankr uptcy court may:
          8         (1) suspe nd or order the contin uation of other proce edings
                                                                                      in the case; or
                    (2) issue any other appro priate orders during the pende ncy
          9                                                                      of an appea l to
                  protec t the rights of all partie s in intere st.
      10        (Adde d Apr. 25, 2014, eff. Dec. 1, 2014. )
      11                                                   PRIOR RULE

      12          A prior Rule 8007, Apr. 25, 1983, eff. Aug. 1, 1983, as amen
                                                                                   ded Mar. 30, 1987,
                eff. Aug. 1, 1987; Apr. 30, 1991, eff. Aug. 1, 1991, relate d
                                                                               to compl etion and
      13        transm ission of the record and docke ting of the appea l, prior
                                                                                 to revisio n of Part
                VIII, Apr. 25, 2014, eff. Dec. 1, 2014.
      14

      15
               4. Appellant Thomas Neuso m is or was a Bankru ptcy Attorn ey able
                                                                                        to file in the Southern
      16
               District of Florida, and he has an application pendin g to file Bankru
      17                                                                                ptcies in the Middle District
      18       of Florida.

      19
               5. The subject of this Appeal is in regards to the personal Bankru ptcy
      20                                                                                  of Nubia Marcella Perez.

     21        Some issues came up during the Bankruptcy where an eviction attorne
                                                                                          y named Joseph Colletti
     22        misunderstood the situation and may have mistakenly put in a stay in
                                                                                         an eviction of a business
     23        owned by Perez called A Plus Lamination. It was all Collet ti's mistak
                                                                                         e because he had a copy of
     24
               the lease betwee n the Landlord Hollan d and A Plus Lamination.
     25
               Colletti acted without the requisite knowledge and experience and did
                                                                                          not consult with his own
     26
               Bankruptcy Counsel before he acted in violation of the Rules of Profes
     27                                                                                    sional Responsibility.
                                                               3
     28
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           1
           2    6. Neuso m filed the Perez Bankr uptcy and was obtaining more
                                                                                   information about the case when
           3    he may have spoken to Colletti about it in order to obtain case
                                                                                  docum entati on such as the Lease
           4    which Perez and her comp any were unable to give him. The
                                                                                 eviction Attorn ey for A Plus was
          5
                Alex Borell .
          6
          7     7. Based on the facts of the case Neuso m believes he will be
                                                                                successful in reversing the Findings
          8
                of Fact and Conclusions of Law entered by Judge A. Jay Cristo
                                                                                  ! on Novem ber 4, 2018 which is
          9
                currently being appealed.
      10
      11        8. The findings have had the effect of closing down The Law
                                                                                 Office of Thom as G. Neuso m' s
      12
               Bankr uptcy Practice while he has a current Chapt er 11 Bankr
                                                                                uptcy case pendi ng in West Palm
      13
               Beach Florida for the BBlac k Corporation. The Chapt er 11 Bankr
      14                                                                              uptcy Petition was filed on

      15       Octob er 1, 2018 with Case No. 18-23654.

      16
               9. The Law Office of Thom as G. Neuso m is also in the proces
      17                                                                         s of filing a Chapt er 7 Bankr uptcy
               case in the Middl e Distri ct of Florida. Neuso m has obtained
      18                                                                        membership in the Middle District

      19       of Florida and has almost completed the bankruptcy training.

      20
               10. Neuso m and his clients BBlac k Corporation and Early Hope
     21                                                                            Trans port Inc will suffer

     22        irreparable harm and immin ent injury if a stay and ultimate vacati
                                                                                     ng of the Findings Of Fact And
     23        Conclusions Of Law is not granted.

     24
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           1    I I. Schedules in the BBlack Bankruptcy Case are due
                                                                             on November 8, 2018 and due to the fact
           2
               that the filing entity is a corporation the Officers can
                                                                           not represent it. I have informed the
           3
               Officers of the Corporation about the Cristol order whic
           4                                                                  h went into effect of November 6, 2018

           5   and I have advised them to obtain other Bankruptcy
                                                                           Counsel, but they were informed about
           6   Neus om's issues with Cristo! before the filing and they
                                                                              could not find a Bankrutpcy Attorney for
          7    their Chapter 11 before or after the filing of their Petiti
                                                                             on.
          8
          g    12. It is critical that a stay of Judge Cristols Findings
                                                                           and Final Judgment be put in place or the
      10       Offices BBlack Corporation and Early Hope lransport
                                                                            Inc clients in Saint Petersburg will be hurt
      11
               with the West Palm Beach clients likely facing dism
                                                                       issal of their case.
      12
      13
      14
      15

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           1
           2
                13. In Order to confirm what is stated by Appellant
                                                                    in this Motion for Stay, portions of one of the
          3     Orders in the BBlack Corporation Bankruptcy case
                                                                    follow:
          4
          5                                              U.S. Bank ruptc y Cour t

          6
                                                       South ern Distr ict of Florid a
          7
                Notice of Electronic Filing
          8
                The following transaction was received from Adam
          9                                                         , Lorraine entered on 11/1/2018 at 8:54 AM EDT
                filed on 11/1 /2018                                                                                  and

      10        Case Name:            B Black Corp
               Case Numb er:    18-23654-MAM
      11
               Docu ment Number:~
      12
               Dock et Text:
      13       Notice of Incomplete Filings Due. (Deficiency Must
                                                                     be Cured by 11/8/2018]. List of Twenty Largest
      14       Unsecured Creditors Due: 11/8/2018.Corporate
                                                                 Ownership Statement due 11/8/2018.Chapter 11
                                                                                                                   Small
               Business Documents due by 11/8/2018. List of
                                                                Equity Security Holders due 11/14/2018. Summ
      15       Your Assets and Liabilities and Certain Statistical
                                                                                                                ary of
                                                                   Information due 11/14/2018. Schedule A/B due
      16       11/14/2018. Schedule D due 11/14/2018. Schedule
                                                                      E/F due 11/14/2018. Schedule G due 11/14/2018
               Schedule H due 11/14/2018.Statement of Finan                                                            .
                                                                cial Affairs Due 11/14/2018.Declaration Concerning
     17        Debtors Schedules Due: 11/14/2018. (Incomplete
                                                                   Filings due by 11/14/2018]. (Adam, Lorraine)
     18
               The following document(s) are associated with
                                                               this transaction:
     19
               14. It is critical that a stay be entered and Thomas Neus
                                                                             om is entitled to a stay of the Findings Of
     20
               fact And Conclusions Of Law Entered by Judge Crist
     21                                                                   ol on October 4, 2018.

     22
     23
     24

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                                                                    6
    28
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           1
           2

          3    WHEREFORE, Neusom prays that the Bankru ptcy Appell ate Panel:
          4
                  1. Stay further proceed ings in Case No.18-15825 during the Penden cy of
                                                                                           Thomas Neusom's
          5          Bankruptcy Appeal with Case No. 18-cv-24463-FAM

          6
          7
          8
               .Dated: November 7, 2018:
          9
      10
      11
                                                               ~/      J1~·
                                                                By:/s/Thomas   Neusom
                                                                Attorney For Debtor
      12                                                        Bar No. 003717
      13                                                        (954)200-3536
                                                                4737 N. Ocean Drive, #129
      14                                                        Fort Lauderdale, FL 33308
                                                                Email: tgnoffice35@gmail.com
      15
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    28                                                     7
Case 1:18-cv-24463-FAM   Document 7-1
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           1
           2
           3
           4                      CERTIFICATE OF SERVICE

           5   I HEREBY CERTIFY that a true and correct copy of the foregoing ATTOR NEY THOMA
                                                                                              S
           6   NEUSOM'S EMERG ENCY MOTIO N FOR STAY DURING PENDENCY OF THE
               APPEAL TO THE BANKRUPTCY APPEL LATE PANEL
          7
                was furnished by email or mail to the following on November 7, 2018, to the following by
       8       email.
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      17
      18       Attorneys for Brian Holland and Andrea Holland

      19

      20
      21
                                                                 By:/s/Thomas Neusom
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     28
      Case 1:18-cv-24463-FAM   Document 7-1
                      Case 18-15825-AJC  DocEntered on FLSD
                                             122 Filed       DocketPage
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           ORDERED in the Southern District of Florida on November 21, 2018.




                                                                  A. Jay Cristol, Judge
                                                                  United States Bankruptcy Court
_____________________________________________________________________________

                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA

          In re:
                                                                             CASE NO. 18-15825-BKC-AJC
          NUBIA M. PEREZ,

                   Debtor.
                                             /

               ORDER ON MOTION FOR STAY DURING PENDENCY OF APPEAL TO THE
                             BANKRUPTCY APPELLATE PANEL

                   THIS CAUSE came before the Court upon “Attorney Thomas Neusom’s Emergency

          Motion for Stay During Pendency of the Appeal to the Bankruptcy Appellate Panel” filed

          November 13, 2018 (ECF 117). The Court has reviewed the motion and concludes that it is not

          directed to this Court but rather, it is directed to “the Bankruptcy Appellate Panel”. The motion

          is not subject to a ruling by this Court as it does not request any relief from this Court. Thus, no

          action will be taken on the motion.

                   IT IS SO ORDERED.

                                                          ###




                                                                                                   Exhibit F
Case 1:18-cv-24463-FAM   Document 7-1
                Case 18-15825-AJC  DocEntered on FLSD
                                       122 Filed       DocketPage
                                                  11/21/18    11/27/2018
                                                                  2 of 2 Page 82 of 82



   Copies furnished to:

   Debtor
   Thomas Neusom, Esq.
   Peter Russin, Esq.
   AUST
